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                                             CONTRATO DE PRESTAMO


                    DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

            PARA PUERTO RICO, una corporaci6n publica del Gobiemo de Puerto Rico, creada en

            virtud de la Ley Numero 17 de 23 de septiembre de 1948, segun enmendada,

            representado en este acto por su Vicepresidente Ejecutivo y Agente Fiscal,

            Jorge A. Clivilles Diaz, mayor de edad, casado, ejecutivo y residente de San Juan, Puerto

            Rico (en adelante, el 11 BANC01).

                    DE LA SEGUNDA PARTE:                La AUTORIDAD DE CARRETERAS Y

            TRANSPORTACION DE PUERTO RICO, una entidad juridica creada en virtud de la

            Ley Num. 74 de 23 de junio de 1965, segun enmendada, (la "AUTORIDAD")

             representada en este acto por Javier E. Ramos Hernandez, Director Ejecutivo de la

             AUTORIDAD, mayor de edad, casado, ingeniero y vecino de Bayam6n, Puerto Rico.



                                                        EXPONEN

                    POR CUANTO: La AUTORIDAD interesa obtener financiamiento para sufragar

             gastos operadonales del tercer trimestre del Afi.o Fiscal 2013.

                    POR CUANTO: El 17 de enero de 2013, la Junta de Directores del BANCO aprob6

             a Resoluci6n Num. 9944 para conceder a la AUTORIDAD una linea de credito no

              otativa hasta un maximo de TREINTA Y TRES MILLONES CIENTO OCHENTA Y

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             NUEVE MIL NOVECIENTOS NOVENTA Y SEIS DOLARES ($33,189,,996), la cual
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            incluye la cantidad de Diedseis Mil Quinientos N oventa y Cinco D6lares ($16,.595)

            para cubrir el pago de los cargos por asesoria financiera.

                     POR LO QUE, en consideraci6n a los hechos afirmados anteriormente y a las

            representaciones, acuerdos y garantfas que mas adelante se exponen, las partes

            comparecientes acuerdan y convienen otorgar este C0NTRAT0 DE PRESTAM0.

                                                   ARTiCUL01.

                                                    PRESTAMO

             1.1     Linea de Credito:

                     Una vez se otorguen y suscriban los D0CUMENT0S LEGALES que se

             relacionan en el Articulo 4.1 de este C0NTRAT0 DE PRESTAM0, el BANCO

             extendera a la AUT0RIDAD una LINEA DE CREDITO no rotatoria por la cantidad

             maxima de principal de TREINTA Y TRES MILL0NES CIENT0 OCHENTA Y NUEVE

             MIL N0VECIENT0S N0VENTA Y SEIS D6LARES ($33,189,996) para sufragar gastos

             operacionales de la AUT0RIDAD correspondientes al tercer trimestre <lei Afio Fiscal

             2013, induyendo Dieciseis l\1il Quinientos Noventa y Cinco D6lares ($16,595) para cubrir

             el pago de las cargos por asesorfa financiera.

                     La LINEA DE CREDITO estara evidenciada por un P AGARE por la suma

             principal de TREINTA Y TRES MILL0NES CIENT0 OCHENTA Y NUEVE MIL

             N0VEOENTOS N0VENTA Y SEIS D6LARES ($33,189,996), suscrito en la misma fecha

             que este C0NTRAT0 DE PRESTAM0 y pagaderos a la orden del BANCO.


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              El dinero proveniente de la LINEA DE CREDITO s6lo podra ser utilizado para

     sufragar gastos operacionales del tercer trimestre del Afio Fiscal 2013 de la AUTORIDAD

     y cubrir el paga de los cargas por asesaria financiera.

     1.2      Tasa de Interes:

              La AUTORIDAD acuerda y conviene pagar los intereses mensuales devengados

      sabre los desembolsos de la LINEA DE CREDITO computados sobre la tasa Prime Rate

      mas 150 puntos base, la cual nunca sera menor de seis por ciento (6%), ni mayor de doce

      por ciento (12 %), o cualquier otra tasa de interes que determine el Presidente del BANCO

      o su designado, de acuerdo con el mercado de tasas de interes. Si en la fecha de

      vencimiento de la obligaci6n de repago la AUTORIDAD no ha pagado el balance

      insaluto del principal, la AUTORIDAD pagara intereses sobre dicha suma computados a

      base de 200 puntos base sabre la tasa que le aplicarfa bajo este CONTRATO DE

      PRESTAMO.

      1.3     Termino y Fuente de Pago:

              El principal de la LINEA DE CREDITO sera pagadero el 31 de enero de 2014.

      Lafuente de pago sera de futuras emisiones de bonos y productos de las alianzas

      publico privadas al igual que de ingresos propios de la AUTORIDAD.

              La AUTORIDAD podra pagar la totalidad del prestamo en cualquier momenta

      antes de su vencimiento sin penalidad o prima.

      1.4     Desembolsos:

              Previo al primer desembolso y para cada desembolso, la AUTORIDAD

      entregara al BANCO una certificaci6n original igual al Anejo A de este Contrato,

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             firmada por el Director Ejecutivo de la AUTORIDAD, o la persona que este designe, la

             cual evidenciara que la petici6n de desembolso cumple con los prop6sitos para los

             cuales fue aprobada la LINEA DE CREDITO.             La AUTORIDAD debera incluir,

             ademas, cualquier otra documentaci6n que el BANCO a su entera discreci6n le solicite

              previo al desembolso, induyendo, pero sin limitarse, a copias de facturas.

                      Los desembolsos bajo este financiamiento estan sujetos al cumplimiento de la

              AUTORIDAD con el Area de Agenda Fiscal del BANCO para las condiciones

              estipuladas en el Fiscal Oversight Agreement (FOA) que la AUTORIDAD tenga vigente

              con el BANCO.

                                                  ARTICUL02.

                                          ACUERDOS AFIRMATIVOS

                      La AUTORIDAD conviene y acuerda realizar los actos que se exponen a

              continuaci6n a partir de esta fecha y hasta el pago total y liquidaci6n final del

              principal y los intereses de la LINEA DE CREDITO y cualquier otra obligaci6n con

              relaci6n a la misma, salvo que el BANCO consienta a lo contrario por escrito.

              2.1     Solidtud de Informad6n Adidonal para Efectuar Desembolsos:

                      El BANCO se reserva el derecho de solicitar a la AUTORIDAD cualquier

              informaci6n adicional que sea necesaria para emitir los desembolsos o para cualquier

              prop6sito relacionado con este CONTRATO DE PRESTAMO o P AGARE.

              2.2     Honorarios por Asesoria Finandera:

                      La AUTORIDAD conviene y acuerda pagarle al BANCO la suma de Dieciseis
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      (1/20) del uno por ciento (1 %), por concepto de honorarios correspondientes a esta

      transacci6n, segun la politica vigente del BANCO, los cuales podran ser incluidos

      como parte de este financiamiento, de ser necesario.

      2.3   Causa de lncumplimiento:

            La AUTORIDAD notificara al BANCO de cualquier condici6n, hecho o suceso

      que pueda constituir causa de incumplimiento o en virtud de cuya notificaci6n o el

      mero transcurso del tiempo, o ambos, pueda constituir causa de incumplimiento,

      entregandole al BANCO una certificaci6n suscrita por uno de sus oficiales,

      especificando la naturaleza de dicha causa, tiempo durante el cual ha existido, y que

      curso de acci6n la AUTORIDAD se propone iniciar con relaci6n a los mismos. Tai

      notificaci6n debera ser cursada al BANCO dentro de losdiez (10) dias siguientes a la

      ocurrencia del incumplimiento.

      2.4   Pago de Gestiones Extrajudidales de Cobro, Honorarios, Gastos, etc.:

            A requerimiento del BANCO, la AUTORIDAD debera reembolsar prontamente

      al BANCO el pago de las costas, gastos y honorarios de abogados incurridos por el

      BANCO en gestiones extrajudiciales de cobro de cualquier plaza en mora en relaci6n

      con la LINEA DE CREDITO adeudada por la AUTORIDAD.                La omisi6n de la

      AUTORIDAD de reembolsar dichas costas, gastos y honorarios de abogados

      constituira causa de incumplimiento en la LINEA DE CREDITO.

            Dichas costas, gastos y honorarios de abogados incurridos por el BANCO de

       onformidad con las disposiciones de este CONTRATO DE PREST AMO seran

       eembolsados por la AUTORIDAD de irunediato al serle requeridos.
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            2.5      Incumplimiento bajo los Documentos Legales:

                     La AUTORIDAD conviene que cualquier incumplimiento de los terminos del

            P AGARE y / o         la carta de compromiso,    sera considerado simultaneamente

            incumplimiento con este CONTRATO DE PRESTAMO y viceversa, y de ocurrir el

            mismo, el BANCO tendra inmediatamente el derecho de ejecutar cualesquiera de los

            derechos y privilegios que puedan conferir cualquiera de los DOCUMENTOS

            LEGALES.

            2.6      Autorizaci6n para Tomar Prestado:

                     La AUTORIDAD ha tornado las medidas apropiadas y necesarias, oficiales ode

             otro tipo, para autorizar el otorgamiento y entrega de los DOCUMENTOS LEGALES sin

             limitaci6n alguna.

                                                  ARTiCUL03.

                                             INCUMPLIMIENTOS

             3.1      Causas de Incumplimiento:

                      Cada una de las siguientes constituira una causa de incumplimiento bajo los

             terminos de este CONTRATO DE PRESTAMO:

                      3.1.1 si cualquier representaci6n dada o extendida por la AUTORIDAD al

                   BANCO en cualquiera de los tramites y DOCUMENTOS LEGALES, o si cualquier

                   informe, garantfa o certificado financiero ode otra indole provisto al BANCO en

                   relaci6n con este CONTRATO DE PRESTAMO resultare £also o engafioso;


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                     3.1.2    la falta de pago de principal e intereses y sus penalidades, si alguna,

                              de la LINEA DE CREDITO a su fecha de vencimiento de acuerdo con

                              los terminos de cualquiera de los DOCUMENTOS LEGALES;

                     3.1.3    el incumplimiento o violaci6n por la AUTORIDAD de cualquiera de

                              los terminos, dausulas y condiciones pactadas con el BANCO en los

                              DOCUMENTOS LEGALES; o

                     3.1.4    la ornisi6n por la AUTORIDAD de remediar o subsanar dentro de un

                               plaza de treinta (30) dfas de su ocurrencia, sin notificaci6n previa

                               escrita por parte del BANCO, cualquier incumplimiento a los

                               terminos,   dausulas   y   condiciones   de   este CONTRATO         DE

                               PRESTAMO. Esto no aplica a los terminos y condiciones relacionadas

                               con las obligaciones de pago de la LINEA DE CREDITO, ya que la

                               AUTORIDAD debera cumplir estrictamente con dicho pago a su

                               vencimiento.

             3.2     Remedios:

                     Ante la ocurrencia de cualquiera de las causas de incumplirniento enumeradas

             en el Articulo 3.1 de este CONTRATO DE PRESTAMO, y si dicho incumplimiento no

             es subsanado o remediado segun dispuesto, sin que sea necesario que medie

             notificaci6n alguna del incumplimiento, a cuyos derechos la AUTORIDAD mediante

             el presente otorgamiento renuncia,, el BANCO podra:

                     3.2.1   proceder a reclamar el pago del balance insoluto de la LINEA DE
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                      3.2.2 radicar un procedimiento judicial solicitando el cumplimiento especffico

                              de cualquier termino, clausula o condici6n de cualquiera de los

                              DOCUMENTOS LEGALES, o un entredicho (" injunction") provisional o

                              permanente para impedir que la AUTORIDAD viole cualquiera de

                              dichos terminos, clausulas y condiciones; o

                      3.2.3   ejercitar cualquier otro remedio a que tenga derecho bajo las leyes del

                              Estado Libre Asociado de Puerto Rico.

                      La AUTORIDAD autoriza al BANCO y le confiere poder, sin que se requiera

              notificaci6n alguna, para aplicar el derecho a compensaci6n ( set-of! ) a las obligaciones
                                                                             11     1




              que se originan en este CONTRATO DE PRESTAMO, realizando cualquier aplicaci6n de

              pagos de cualquier suma de dinero perteneciente a la AUTORIDAD en poder del

              BANCO para el pago de la LINEA DE CREDITO e intereses acumulados, en caso de

              incumplirniento por la AUTORIDAD de sus obligaciones de pago bajo el CONTRATO

              DEPRESTAMO.

                                                    ARTiCUL04.

                                          DISPOSICIONES MISCELANEAS

              4.1     Documentos Legales:

                              Segun utilizado en este CONTRATO DE PRESTAMO, el termino

              DOCUMENTOS LEGALES signilica:

                              1. PAGARE

                              2. CONTRATODE PRESTAMO
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  )>          4.2     Renuncias, Alivios, Pr6rrogas, Tolerancias y Remedios Adicionales:
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              Ninguna dilaci6n o demora por parte del BANCO o de cualquier tenedor o

      duefio del P AGARE en el ejercicio de cualquier derecho, facultad o remedio que

      pueda tener conforme a los terminos de cualquiera de los DOCUMENTOS LEGALES

      se considerara como una renuncia, limitaci6n o disminuci6n de los mismos, como

      tampoco el ejercicio parcial o exdusivo de cualquiera de los mismos sera 6bice para

      que subsiguientemente sean ejercitados en su totalidad, incluyendo, pero sin limitarse

      a ello, el derecho de compensaci6n. Los remedios a favor del BANCO dispuestos en

      los DOCUMENTOS LEGALES se consideraran adicionales a, y no excluyentes de,

      cualquier otro remedio contemplado en ley.            Para que todo alivio, pr6rroga o

      tolerancia extendida por el BANCO a la AUTORIDAD, o cualquier enmienda a este

      CONTRATO DE PRESTAMO, sea efectiva, debera constar por escrito, suscrito por un

      oficial autorizado del BANCO, que especificara el alcance del alivio, pr6rroga,

      tolerancia o enmienda concedida.        Toda alivio, pr6rroga, tolerancia o enmienda

      concedida sera valida unicamente para la ocurrencia o eventualidad para la cual se

      concedi6.

      4.3     Direcdones para Notifkadones, etc.:

              Toda notificaci6n, reclamo, directriz o cualquier comunicaci6n dispuesta por los

      DOCUMENTOS LEGALES constara por escrito y debera ser entregada personalmente o

      enviada por fax o por correo, a las siguientes direcciones:

              A LA   II   AUTORIDAD":

              Autoridad de Carreteras y Transportaci6n
              Departamento de Transportaci6n y Obras Publicas
              P.O. Box 42007

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               San Juan, Puerto Rico 00940-2007
               (787) 721-8787

               Atenci6n: Director Ejecutivo

               AL "BANCO":

               Banco Gubernamen tal de Fomento para Puerto Rico
               P.O. Box42001
               San Juan, Puerto Rico 00940-2001
               Fax: (787) 721-1443

               Atenci6n: Presidente

               o a cualquier otra direcci6n que las partes sefialen mediante notificaci6n escrita

      cursada conforme a lo dispuesto en este Artfculo. Estas se consideraran perfeccionadas

      una vez las mismas se depositen debidamente franqueadas en el correo y sean cursadas a

      las direcciones mencionadas .

      4.4      Sucesores y Causahabien tes:

               Los pactos y clausulas aquf contenidas obligaran y beneficiaran a las partes y a

      sus respectivos causahabien tes, albaceas, administrado res, sucesores y cesionarios.

      4.5      Renuncias por la_ AUTORIDA D a Presentaci6n , Protesto, etc.:

               La AUTORIDAD renuncia a toda notificaci6n de aceptaci6n o demanda o

      requerimien to a la realizaci6n de cualquier condici6n precedente por parte del

      BANCO, y asi mismo renuncia a los derechos de presentaci6n , protesto, notificaci6n

      de protesto, requerimien to de pago, notificaci6n de incumplimie nto o falta de pago,

      relevo, compromiso , compensaci6 n, transacci6n, pr6rroga, renovaci6n o extension de

      cualquier derecho contractual o instrumento legal y, en general, a toda otra formalidad

      legal.

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     4.6      Dedaraci6n de Intenci6n:

              Este CONTRATO DE PRESTAMO se otorga como una dedaraci6n oficial de

     intenci6n bajo la regulaci6n del Departamento del Tesoro de los Estados Unidos,

     Secci6n 1.150-2.



                              [PAGINA DE FIRMAS A CONTINUACI6 N]




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              EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan e e

      CONTRATO DE PRESTAMO en San Juan, Puerto Rico, at! de felrt!re,              de 2013.

      BANCO GUBERNAMEN TAL DE                    AUTORIDAD DE CARRETERAS Y
      FOMENTO PARA PUERTO RICO                   TRANSPORTA CION DE PUERTO RICO




      Jorge .                                       ier E. Ramos He
      Vicep     ente Ejecutivo                    irector Ejecutivo
      y Agente Fiscal


      Testimonio 1-1-'3

              Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad,
      casado, ingeniero y vecino de Bayam6n, Puerto Rico, en su caracter como Director
      Ejecuti       la Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien
                         ente.
                       ~
                       a   r erto Rico, a :i,-g d e ~ de 2013.
                           r-

                                ENTO DEL PAGO D E A R A N ~
                           LEY 47 DE 4 DE JUNIO DE 198                           -=-~__,
                                                                      N otaria Pu ·c


      Testimonio-q-1, D

            Reconocido y suscrito ante mi par Jorge A. Clivilles Diaz, mayor de edad,
      casado y vecino de San Juan, Puerto Rico, en su caracter de Vicepresidente Ejecutivo y
      Agente Fiscal del Banco Gubernamental de Fomento para Puerto Rico, a quien conozco
      personalmente.

              En San Juan, Puerto Rico, a :2/i   d e ~ de 2013.




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                                             EXENTO DEL PAGO DE ARANCEL
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                    PRIMERA ENMIENDA A CONTRATO DE PRESTAMO

                                         COMPARECEN

              DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

       PARA PUERTO RICO, una instituci6n bancaria organizada y existente a tenor con la

       Ley Num. 17, aprobada el 23 de septiembre de 1948, segun erunendada (el "BANCO"),

       representado en este acto por Jorge A Clivilles Diaz, Vicepresidente Ejecutivo y

       Agente Fiscal, mayor de edad, casado y residente de San Juan, Puerto Rico.

              DE LA SEGUNDA PARTE: La AUTORIDAD DE CARRETERAS Y

       TRANSPORTACION DE PUERTO RICO, una entidad jur:fdica creada en virtud de la

       Ley Num. 74 de 23 de junio de 1965, segun erunendada (la "AUTORIDAD"),

       representada en este acto por Javier E. Ramos Hernandez, Director Ejecutivo, mayor de

       edad, casado y vecino de Bayamon, Puerto Rico.

              A menos que un termino escrito en letras mayusculas sea definido de otra forma

       en esta Primera Enmienda a Contrato de Prestamo (la "PRIMERA ENMIENDA AL

       CONTRATO DE PRESTAMO"), el mismo tendra el significado adscrito en el

       CONTRATO DE PRESTAMO, segun se define mas adelante.

                                            EXPONEN

              POR CUANTO: El 17 de enero de 2013, la Junta de Directores del BANCO

      aprob6 la Resoluci6n Num. 9944 para conceder a la AUTORIDAD una linea de credito

      no rotativa hasta un maximo de $33,189,996, incluyendo el pago de los cargos por

      asesoria financiera.




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              POR CUANTO: De conformidad con lo anterior, el 28 de febrero de 2013, la

      AUTORIDAD y el BANCO suscribieron un Contrato de Prestamo (el "CONTRATO DE

      PRESTAMO"), mediante el cual se concedi6 a la AUTORIDAD la LINEA DE

      CREDITO por la cantidad maxima de $33,189,996 para sufragar gastos operacionales

       de la AUTORIDAD correspondientes al tercer trimestre del Afio Fiscal 2013 y cubrir el

       pago de los cargos de asesoria financiera por la cantidad de $16,595.

              En la misma fecha de otorgamiento del CONTRATO DE PRESTAMO, la

       AUTORIDAD suscribi6 un PAGARE por la suma de $33,189,996 a la orden del

       BANCO y con vencimiento el 31 de enero de 2014.

              POR CUANTO: Al 31 de octubre de 2013, el balance de principal de la

       LINEA DE CREDITO asciende a $32,224,244.47 con intereses acumulados por la

       cantidad de $564,387.93.

              POR CUANTO: La AUTORIDAD ha solicitado, y la gerencia del BANCO ha

      recomendado, enmendar la LINEA DE CREDITO con el prop6sito de extender el

      vencimiento de la misma hasta el 31 de enero de 2015.

              POR CUANTO: La Junta de Directores del BANCO ha autorizado mediante la

      Resoluci6n Num. 10197 adoptada en reunion celebrada el 20 de noviembre de 2013,

      enmendar el CONTRATO DE PRESTAMO a los fines de extender la fecha de

      vencimiento hasta el 31 de enero de 2015 y requerir el pago de honorarios por

      asesoria financiera, entre otros terminos y condiciones.

              POR CUANTO: De conformidad con la Resoluci6n Num. 2014-04 emitida el

      30 de enero de 2014 por la Junta de Directores de la AUTORIDAD, la AUTORIDAD


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      ha aceptado los terminos y condiciones establecidos por el BANCO para la presente

      enmienda.

              POR LO T ANTO; en consideraci6n a los hechos afirmados anteriorrnente, y a

      las representaciones, acuerdos y garantias que rnas adelante se exponen, las partes

      cornparecientes:

                                 ACUERDAN Y CONVIENEN

              PRIMERO: Se enrnienda la prirnera oraci6n de la Secci6n 1.3 del Articulo 1

      del CONTRATO DE PRESTAMO, para que lea corno sigue:

              "El principal de la LINEA DE CREDITO sera pagadero el 31 de enero de
              2015."


              SEGUNDO: La AUTORIDAD reconoce, conviene y acepta pagar al BANCO

      honorarios por servicios de asesorfa financiera igual a una veinticincoava (1/25)

      parte del uno por ciento (1 %), para un total de Trece Mil Doscientos Setenta y Seis

      D6lares ($13,276) correspondientes a esta transacci6n y segtm la polftica vigente del

      BANCO.

              TERCERO:     En esta rnisrna fecha, la AUTORIDAD suscribe y otorga un

      docurnento titulado PRIMERA ENMIENDA A P AGARE ('' ALLONGE").                   Este

      ALLONGE se hara forrnar parte del PAGARE original suscrito por la AUTORIDAD,

      segtin enrnendado, con el prop6sito de incorporar los acuerdos y enrniendas aquf

      consignadas.

              CUARTO: Esta PRIMERA ENMIENDA AL CONTRATO DE PRESTAMO y su

      ALLONGE no constituyen una novaci6n de las obligaciones de la AUTORIDAD bajo el


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      CONTRATO DE PRESTAMO y PAGARE. Todos los demas terminos y condiciones y

       del CONTRATO DE PRESTAMO y el PAGARE que no contravengan lo aqui acordado,

      permaneceran inalteradas y en pleno vigor.

              QUINTO: Esta PRIMERA ENMIENDA AL CONTRATO DE PRESTAMO se

       suscribe de conformidad con la Resoluci6n 10197 adoptada por la Junta de Directores

       del BANCO el 20 de noviembre de 2013, la cual se aprob6 como una declaraci6n de

       intenci6n bajo la Secci6n 1.150-2 de la regulaci6n del Departamento del Tesoro Federal

       (U.S. Treasury Department Regulation Section 1.150-2).




                                  [FIRMAS EN LA SIGUIENTE PAGINA]




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              EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

       PRIMERA ENMIENDA A CONTRATO DE PRESTAMO en San Juan, Puerto Rico,

       a 3.L de enero de 2014.


       BANCO GUBERNAMENTAL DE                   AUTORIDAD DE CARRETERAS Y
       FOMENTO PARA PUERTO RICO                 TRANSPORTACION DE PUERTO RICO




       Jorg
       Vice        · te Ejecutivo
       y Agente Fiscal


       Testimonio _!I!__!!_




                                     EXENTO DEL PAGO DE ARANCEL
                                      LEY 47 DE 4 DE JUNJO DE 1982

       Testimonio 'fi,:)--

             Reconocido y suscrito ante mi por Jorge A. Oivilles Diaz, mayor de edad,
       casado y vecino de San Juan, Puerto Rico, en su caracter de Vicepresidente Ejecutivo
       y Agente Fiscal del Banco Gubemamental de Fomento para Puerto Rico, a quien
       co         sonalmente. En San Juan, Puerto Rico, a ...31 de enero de 2014.
                    V
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                              ®·
                                    EXENTO DEL PAGO DE ARA CErotaria Pu
                                     LEY 47 DE 4 DE JUNIO DE 1982


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                    SECUNDA ENMIENDA A CONTRATO DE PREST AMO

                                          COMPARECEN

               DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

       PARA PUERTO RICO, una corporaci6n publica e instrumentalidad del Estado Libre

       Asociado de Puerto Rico creada en virtud de la Ley N um. 17, aprobada el 23 de

       septiembre de 1948, segun enmendada (el "BANCO"), representado en este acto por

       Jorge A Clivilles Dfaz, Vicepresidente Ejecutivo y Agente Fiscal, mayor de edad,

       casado y residente de San Juan, Puerto Rico.

               DE LA SEGUNDA PARTE: La AUTORIDAD DE CARRETERAS Y

       TRANSPORTACI6N            DE    PUERTO         RICO,,   una   corporaci6n   publica    e

       instrumentalidad del Estado Libre Asociado de Puerto Rico creada en virtud de la

       Ley Num. 74 de 23 de junio de 1965, segun enmendada (la "AUTORIPAD"),

       representada en este acto por Carmen A. Villar Prados, ·Directora Ejecutiva, mayor de

       edad, casada y vecina de Guaynabo, Puerto Rico,

               A menos que un tennino escrito en letras mayusculas sea definido de otra forma

       en esta Segunda Enmienda a Contr~to de Prestamo (la "SECUNDA ENMIENDA AL

       CONTRATO DE PRESTAMO"), el mismo tendra el significado adscrito en el

       CONTRATO DE PRESTAMO, segun se define mas adelante.

                                             EXPONEN

               POR CUANTO: El 17 de enero de 2013, la Junta de Directores del BANCO

       aprob6 la Resoluci6n Niun. 9944 para conceder a la AUTORIDAD una lfnea de credito




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      no rotativa hasta un maxima de $33,189,996, incluyendo el pago de los cargos por

      asesoria financiera.

               POR CUANTO: De conformidad con lo anterior, el 28 de febrero de 2013, Ia

      AUTORIDAD y el BANCO suscribieron un Contrato de Prestamo (el "CON1RATO DE

      PRFSTAMO"), mediante el cual se concedio a la AUTORIDAD la LfNEA DE

      CREDITO por la cantidad maxima de $33,189,996 para sufragar gastos operacionales

      de la AUTORIDAD correspondientes al tercer trimestre del Mio Fiscal 2013 y cubrir el

       pago de los cargos de asesorfa financiera por la cantidad de $16,595.

               En la misrna fecha de otorgamiento del CONTRATO DE PRESTAMO, la

       AUTORIDAD suscribi6 un PAGARE por la suma de $33,189,996 a la orden del

       BANCO y con vencimiento el 31 de enero de 2014.

               POR CUANTO: El 31 de enero de 2014, el BANCO y la AUTORIDAD

       suscribieron una Primera Enmienda a Conh'ato de Prestamo a los fines de extender el

       vencimiento hasta el 31 de enero de 2015. En es.a misma fecha, la AUTORIDAD

       suscribi6 una Primera Enmienda a Pagan~ (" Allonge") para incorporar dicha

       enmienda.

               POR CUANTO: Al 31 de diciembre de 2014, el balance de principal de la

       L1NEA DE CREDITO asciende a $32,612,861.79 con intereses acumulados par la

       cantidad de $1,660,706.17.

               POR CUANTO: La gerencia del BANCO ha recomendado enmendar la

       LINEA DE CREDITO con el prop6sito de extender el vencimiento de la misma hasta

       el 31 de enero de 2016.

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                POR CUANTO: LaJunta de Directores del BANCO ha autorizado mediante la

       Resoluci6n Num. 10554 adoptada en reuni6n celebrada el 17 de didembre de 2014 (la

       "Resoluci6n 10554"), enmendar el CONTRATO DE PRESTAMO a los fines de

       extender la fecha de vencimiento hasta el 31 de enero de 2016 y requerir el pago de

       honorarios par asesorfa financiera, entre otros terminos y condiciones.

                POR CUANTO: De conformidad con la Resoluci6n Num. 2015"07 adoptada

       el 15 de enero de 2015 por la Junta de Directores de la AUTORIDAD, la

       AUTORIDAD ha aceptado los terminos y condiciones establecidos por el BANCO

       para la presente enmienda. .

                POR LO TANTO, en consideraci6n a los hechos afirmados anteriormente, ya

       las representaciones, acuerdos y garantias que mas ad~lante se exponen, las partes

       comparedentes:

                                    ACUERDANY CONVIENEN

                PRIMERO: Las partes acuerdan extender la fecha de vencimiento de la

        LfNEA DE CREDITO e incluir los ingresos asignados a la AUTORIDAD bajo las

        Leyes Leyes Numero 30 y 31 del 25 de junio de 2013 como fuente de pago adicional

        de la obligaci6n. Por consiguiente, se enmienda el primer parrafo de la Secci6n 1.3

        del Articulo 1 del CONTRATO DE PREST AMO, segun enmendado, para que lea

        comosigue:

                "El principal de la L1NEA DE CREDITO sera pagadero el 31 de enero de
                2016: Lafuente de pago sera de futuras emisiones de bones y productos de
                las alianzas publico privadas al igual que ingresos propios de la
                AUTORIDAD, incluyendo los ingresos asignados bajo las Leyes Numero
                30 y 31 del 25 de junia de 2013, los cuales estan cedidos y comprometidos a

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                favor del BANCO mediante el Assignment and Security Agreement suscrito
                el 28 de agosto de 2013 entre el BANCO y la AUTORIDAD."

                SEGUNDO: La AUTORIDAD reconoce, conviene y acepta pagar al BANCO

       honorarios por servicios de asesorfa financiera igual a una veinticinco~v~ (1/25)

       parte del uno por ciento (1 %), para un total de Trece Mil Doscientos Setenta y Seis

       D6lares ($13,276.00), cor.respondientes a esta transacci6n y segun la polftica vigente

       delBANCO.

                TERCERO: En esta misma fecha, la AUTORIDAD suscribe y otorga un

       documento titulado SEGUNDA ENMIENDA A P AGARE (" ALLONGE").                          Este

       ALLONGE se hara formar parte del PAGARE original suscrito por la AUTORIDAD,

       segun enmendado, con el prop6sito de incorporar los acuerdos y enmiendas aquf

       consignadas.

                CUARTO: Esta SEGUNDA ENMIENDA AL CONTRATO DE PRESTAMO y su

        ALLONGE no constituyen una novaci6n de las obligaciones de la AUTORIDAD bajo el

        CONTRATO DE PRESTAMO y el PAGARE, segun enmendados. Todos los demas

        Mrminos y condiciones y del CONTRATO DE PRESTAMO y el PAGARE que no

        contravengan lo aquf acordado, permaneceran inalterados yen pleno vigor.

                QUINTO:     El Presidente del BANCO, el Vicepresidente Ejecutivo              de

        Financiamiento o cualquier otro vicepresidente ejecutivo, esta autorizado a canalizar los

        recurses e ingresos de la AUTORIDAD correspondientes a las Leyes 30 y 31 del 25 de

        junio de 2013 para el repago de los financiamientos vigentes y cualquiera otras




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       cantidades que el BANCO cobre por concepto de obligaciones pendientes de la

       AUTORIDAD.

               SEXTO: El Director Ejecutivo de la AUTORIDAD y el Secretario del

       Departamento de Transportaci6n y Obras Ptiblicas deberan efectuar una presentaci6n a

       la Junta de Directores del BANCO sobre las finanzas de la AUTORIDAD y el progreso

       de la irnplementaci6n de sus planes a mediano y largo plazo para atender de manera

       expedita y efectiva la situaci6n fiscal de la AUTORIDAD, mas alla de los nuevos

       ingresos ya legislados. Esta presentaci6n se llevaTa a cabo previo a cualquier

       desembolso por parte del BANCO si min quedan fondos disponibles bajo la LfNEA DE

       CREDITO.

               SEPTIMO: Esta SEGUNDA ENMIENDA AL CONTRATO DE PRESTAMO se

       suscribe de confonnidad con la Resoluci6n 10554, la cual se aprob6 como una

       declaraci6n de intenci6n bajo la Secci6n 1.150-2 de la regulaci6n del Departamento cl.el

       Tesoro Federal (U.S. Treasury Department Regulation Section 1.150-2).



                                  [FIRMAS EN LA SIGUIENTE :PAGINA]




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                EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

        SEGUNDA ENMIENDA A                CONTRATO DE PRESTAMO              en San Juan,

        Puerto Rico, a .{la_ de mayo de 2015.


        BANCO GUBERNAMENTAL DE                  AUTORIDAD DE CARRETERAS Y
        FOMENTO PARA PUERTO RICO                TRANSPORTACION DE PUERTO RICO




        Jorge      'villes Diaz
                                             ~~4'/4:Y'    .   .
                                                Carmen A. Villar Prados
        Vicepresidertte Ejecutivo               Directora Ejecutiva
        y Agente Fiscal


        Testimonio 3:::3,..

               Reconoddo y suscrito ante mi por Jorge A. Oivilles Diaz, mayor de edad,
        casado y vecino de San Juan, Puerto Rico, en su caracter de Vicepresidente Ejecutivo
        y Agente Fiscal del Banco Gubernamental de Fomento para Puerto Rico, y por Carmen
        A. Villar Prados, mayor de edad, casada y vecina de Guaynabo, Puerto Rico, en su
        caracter de Directora Ejecutiva de la Autoridad de Carreteras y Transportaci6n de
        Puerto Rico, a quienes conozco persorutlmente.

                En San Juan, Puerto Rico, a rl-0 de mayo de 2015.



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                                    SEGUNDA ENMIENDA A PAGARE
                                           ("ALLONGE")


          $33,189,996                                            Vencimiento: 31 de enero de 2016

                 El PAGARE por TREINTA Y TRES MILLONES CIENTO OCHENTA Y NUEVE
          MIL NOVECIENTOS NOVENTA Y SEIS D6LARES ($33,189,996), suscrito el 28 de
          febrero de 2013 por Javier E. Ramos Hernandez en capacidad de Director Ejecutivo de la
          Autoridad de Carreteras y Transportaci6n de Puerto Rico (Ia "AUTORIDAD") ante Ia
          Notaria Marguilean Rivera Amill, testimonio numero 779, segun enmendado por Ia
          PRIMERA ENMIENDA A PAGARE ("ALLONGE") suscrita el 31 de enero de 2014 por
          dicho funcionario ante la Notario Marguilean Rivera Amill, testimonio numero 911,
          queda por Ia presente enmendado para extender su fecha de vencimiento hasta el 31 de
          enero de 2016.

                 Los demas terminos y condiciones de! PAGARE, segun enmendado, no
          inconsistentes con esta SEGUNDA ENMIENDA A PAGARE, permaneceran inalterados
          y en pleno vigor.

                Esta modificaci6n se consigna en virtud de la SEGUNDA ENMIENDA A
          CONTRATO DE PRESTAMO que el BANCO y la AUTORIDAD han suscrito en el dia
          de hoy.

                  En San Juan, Puerto Rico, aJ.o de mayo de 2015.

                                              AUTORIDAD DE CARRETERAS Y
                                              TRANSPORTACI6N DE PUERTO RICO


                                           J&bftk@;.Y
                                              Carmen A. Villar Prados
                                              Directora Ejecutiva

          Testirnonio ~

                  Reconocido y suscrito ante mf por Carmen A. Villar Prados, Directora Ejecutiva,
          mayor de edad, casada y vecina de Guaynabo, Puerto Rico, en su cari:lcter coma
          Directora Ejecutiva de la Autoridad de Carreteras y Transportaci6n de Puerto Rico, a
          quien conozco personalmente.

                  En San Juan, J>uerto Rico, a ,2Q__ de mayo de 2015.


                                                                    #.J.~
                                                                        Not~

                                                  DEL PAGO DE ARANCEL
                                                  DE 4 DE JUNIO DE 1982




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          ESTADO LIBRE ASOCIADO DE
          PUERTO. RICO
          Banco Gubernamental de Fomento
          para Puerto Rico



                                           CERTIFICACI6N

            YO, ALEJANDRO FEBRES JORGE, Secretario de la Junta de Directores de! Banco

    Gubernamental de Fomento para Puerto Rico, CERTIFICO que la Resoluci6n 10554

    es una copia fie! y exacta de la original que se encuentra bajo mi custodia. La misma fue adoptada

    por la Junta de Directores del Banco Gubernamental de Fomento para .Puerto Rfoo, en reunion

     debidamente convocada y celebrada el 17 de diciembre de 2014.

            CERTIFICO, ADEMAS, que dicha Resoluci6n no ha sido . derogada, revocada o

     anulada y se encuentra en toda su fuerza y vigor.

                                             RESOLUCI6N 10554

            APRUEBA LA EXTENSION AL VENCIMIENTO DE VARIOS
            FINANCIAMIENTOS POR UN TOTAL DE $1,446,197,984.64 QUE LA
            AUTORIDAD DE CARRETERAS Y TRANSPOR'.1.'ACION TIENE
            VIGENTES CON EL BANCO GUBERNAMENTAL DE FOMENTO PARA
            PUERTO RICO IIASTA EL 31 ENERO DE 2016

            POR CUANTO, al 31 de octubre de 2013, la Autoridad de Carreteras y Transportaci6n
     (ACT) tiene varias lineas de credito vigentes .con el Banco Gubernamental de Fomento para
     Puerto Rico ("BGF") hasta total maxima de $2,080,094,587.64, de las cuales varias de ellas
     estan por veneer en enero de 2015. El balance actual de clichos fmanciamiento es de
     $1,446,197,984,984.4, con unbalance de principal de $1,223,899,356.04;

           POR CUANTO, la gerencia de! BGF recomend6 favorablemente la extension de los
     vencimientos de los financiamientos antes mencionados, con el prop6sito de que se mantengan
     vigentes en el BGF.     De ser necesario, los balances disponibles se utilizaran para ate~der
     situaciones de emergencia de la ACT en lo que se realiza la emisi6n de bonos proyectada a
     traves de la Autoridad para el Financiamiento de la Infraestructura de Puerto Rico; y

             POR TANTO, RESUELVASE por la Junta de Directores de! Banco Gubernamental de
      Fomento para Puerto Rico aprobar la extension de las llneas de credito con vencimiento al 31 de
    · enero de 2015 que la Autoridad de Carreteras y Transportaci6n tiene vigente con el BGF hasta el
      31 de enero de 2016, sujeto alos terminos y condiciones siguientes:

PO Box42001                                                                                BANCO
San Juan, PR 00940-2001                                                                    GUl3BRNAMENTAL
Telefono (787) 722-2525                                                                    DE FOMENTO PARA
                                                                                  BGF PUERTO RICO
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   Junta de Directores del BGF
   Certificaci6n de Ia Resoluci6n 10554
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  ·-Aprobada el 17 de diciembre de 2014


       I. El Presidente de! Banco Gubemamental de Fomento para Puerto Rico, el Vicepresidente
          Ejecutivo de Financiamiento o cualquier otro vicepresidente ejecutivo, podra negociar
          tenninos y condiciones adicionales que sean necesarios para proteger los intereses del
          BGF, as! coma canalizar los recnrsos e ingresos correspondientes de la ACT (Leyes 30 y
          31 de 25 de junio de 2013) para el repago de los fiminciamientos vigentes y cualquiera
          otras cantidades que el BGF cobre por concepto de obligaciones pendientes de la ACT.

       2. El Director Ejecutivo a la ACT y el Secretario de! Departamento de Transportaci6n y
          Obras Publicas deberan efectuar una presentaci6n a esta Junta de Directores sobre las
          finanzas de la ACT y el progreso de la implementaci6n de sus planes a mediano y largo
          plaza para atender de manera expedita y efectiva la situaci6n fiscal de la ACT, miis allii
          de !os nuevos ingresos ya legislados.

       3. La ACT debera pagar al BGF los honoraries correspondientes por esta transacci6n
          confonne a la politica vigente, segun revisada por la Junta de Directores mediante la
          Resoluci6n 9374 de 20 de octubre de 2010.

       Esta Re.soluci6n se aprueba, ademas, como una declaraci6n oficial de intenci6n bajo la regulaci6n del
       Departamento de! Tesoro de los Estados Unidos, Seeci6n 1.150-2.

       Las disposiciones de esta Resoluci6n son efectivas a la fecha de aprobaci6n.

           Y PARA QUE ASi CONSTE, suscribo y estampo el sello corporative del Banco
   Gubemamental de Fomento para Puerto Rico.               En San Juan, Puerto Rico, hoy, martes,
   13 de enero de 2015.



   (SELLO)
                                                                   ~J/'
                                                            ALEJANDRO FEBRES JORGE
                                                                     SECRETARIO




   40606
   '   ' ....
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                                          RESOLUCION NUM. 2015-07


             PARA AUTORIZAR HASTA EL                :n
                                        DE ENERO DE 2016 LA EXTENSION DE LA
           FECHA DE VENCIMIENTO DE VARIAS LINEAS DE CREDITO QUE LA AUTORIDAD
                DE CARRETERAS Y TRANSPORTACION MANTIENE CON EL BANCO
              GUBERNAMENTAL DE FOMENTO PARA PUERTO RICO, CUVA FECHA DE
                         VENCIMIENTO ES EL 31 DE ENERO DE 2015


                    POR CUANTO: Mediante la Ley Ndm. 41-2014 se cre6 una Junta de Directores

           en la Autoridad de Carreteras y Transportacl6n (en adelante la "Autoridad") y se

           dlspuso que las poderes y deberes de la Autoridad seran ejercidos par dlcha Junta.

                     POR CUANTO: En Reuni6n Ordinaria de ·Ia Junta, celebrada el 15 de enero de

           2015, el Director Ejecutlvo de la Autoridad somet16 a la Junta una sollcitud para la

            autorlzaci6n de la extensl6n de la fecha de vencimiento de varias lfneas de credito que

            esta Autorldad mantiene con el Banco Gubernamental de Fomento para Puerto Rico

            (BGF). Las referidas lineas de credito tlenen unbalance actual de $1,446,197,984.64,

            con unbalance de principal de $1,223,899,356.04. Se acompafia anejo con un detalle

            de dichas lineas de credito (Anejo 1).

                     POR CUANTO: La Junta de Directores del BGF, medlante la Resoluci6n 10554,

                doptada el 17 de diclembre de 2014, aprob6 la extension de las fechas de vigencla de

                stas lineas de credito hasta el 31 de enero de 2016 (Ane)o 2).

                     POR CUANTO: Luego de discutido extensamente el asunto, la Junta aprob6 que

            la Autoridad de Carreteras y Transportaci6n extienda la fecha de vencimiento de estas

            lineas de credito con el BGF.

                     POR TANTO: RESUELVASE POR ESTA JUNTA DE DIRECTORES:

                     1) Autorizar la extensi6n hasta el 31 de enero de 2016 de la fecha de

                         vencimiento de varias lineas de credito que la Autoridad de Carreteras y

                         Transportaci6n mantiene con el Banco Gubernamental de Fomento para

                         Puerto Rico, cuya fecha de vencimiento es el 31 de enero de 2015.

                     2) La Autorldad pagan, al Banco Gubernamental de Fomento las honorarios

                         correspondientes por esta transacci6n, segUn la polftica vigente a estos

                         efectos.
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         Resolucl6n Nijmero 2015~07
         15 de enero de 2015
         Paglna 2 de 2
                3) Autorizar al(la) Director(a) Ejecutivo(a) de la Autoridad,   aaceptar los terrninos
                   y condlciones establecidos por el Banco Gubernamental de Fomenta de

                    Puerto Rico coma condici6n para estas extensiones y a que se firmen los

                    acuerdos necesarios para_ su eje9uci6n.

                4) Autorizar al(la) Direclor(a) Ejecutivo(a) de la Autoridad, a firmar las

                    documentos legales correspondientes a estas extensiones de fechas de

                    vencimiento.

                5) Esta resolucl6n tendra vigencia inmediata.

                NOSOTROS, HON. MIGUEL A. TORRES DIAZ, Preslderite de la Junta de
         Directoras, y LCDA. YASMIN M. SANTIAGO ZAYAS, Secrataria de la Junta de
         Directores de la Auto rid ad de· Carreteras y Transportaci6n, CERTIFICAMOS que la que
         a tecede es una Resoluci6n fiel y exacta aprobada par la Junta de Directores en
          euni6n Ordinaria celebrada en San Juan, Puerto Rico, a 15 d n rode 2015.



                                                                 HON. MIGUE A, TORRES DIAZ
                                                                            Pr sidente de la Junta
                                      Secretarlo, Departamento de Transportaci n y Obras Publicas




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                                   CERTIFICACION

                     Yo, Yasmin M. Santiago Zayas, Secretaria de la
                Corporaci6n, CERTIFICO que las datos precedentes son
                copia fiel y exacta de la Resoluci6n Num. 2015-07
                aprobada par la Junta de Directores de la Autoridad de
                Carreteras y Transportaci6n el 15 de enero de 2015.

                      En testimonio de lo cual, firmo y estampo el Sella
                Oficial de la Autoridad de Carreteras y Transportaci6n.
                hoy 12 de febrero de 2015.



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        ESTADO LIBRE ASOCIADO DE
        PUERTO RICO
        Banco Gubernamental de Fomento
        para Puerto Rico



     4 de febrero de 2015




     Ing. Carmen Villar Prado
     Director Ejecutivo
     Autoridad de Carreteras y Transportaci6n
     Apartado 42007
     San Juan, PR 00940-2007

     Estlmada lngeniera Villar:

     la Junta de Directores del Banco Gubernamental de Fomento para Puerto Rico (BGF},
     medlante su Resoluclon 10554, aprob6 a la Autoridad de Carreteras y Transpartaci6n
     (ACT} la extension hasta el 31 de enero de 2016 en el vencimiento de varios
     financiamientos vigentes par un total de $1,446,197,984.64.

     La extension antes mencionada estara sujeta a los siguientes terminos y condiciones
     adiclonales:

            1. El Presldente def Banco Gubernamental de Fomento para Puerto Rico, el
               Vicepresidente Ejecutivo de. Financlamiento o cualquier otro vicepresidente
               ejecutlvo, podra negociar termlnos y condiciones adiclonales que sean
               necesarios para proteger los fntereses del BGF, asi coma canalizar ios recursos e
               ingresos correspondlentes de la ACT (Leyes 30 y 31 de 25 de junio de 2013) para
               el repago de los flnanciamientos vigentes y cualquiera otras cantidades que el
               BGF cobre por conceptci de obligaciones pendientes de la ACT.

           2. El Director Ejetutivo a la ACT y el Secretario del Departamento de Transportaci6n
              y Obras Pubiicas deberan efectuar una presentaci6n a esta Junta de Directores
              sobre las finanzas de la ACT y el progreso de la implementac16n de sus planes a
              medlano y largo plaza para atender de manera expedita y efectiva la situaci6n
              fiscal de la ACT, mas alla de las nuevos lngresas ya ieglslados.

           3. La ACT debera pagar al BGF las hanararios correspondlentes por esta transacci6n
              conforme a la politlca vigente, segun revisada por la Junta de Directores
              mediante la Resolucion 9374 de 20 de octubre de 2010.




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      Ing. Carmen Villar Prado
      Auto rid ad de Cilrreteras y Transportac!On
      Carta Compromise Extens16n Venclmlento
        Varies Flnanclamientos
      P~glna 2



      De estar de acuerdo con los terminos y condlciones antes indlcados, agradeceremos
      firme y devuelva la copia que se incluye de esta carta para proceder a preparar la
      documentacl6n legal necesaria para evidenciar la extension.
      Se incluye la Resoluci6n 10554 como parte de esta carta, la cual maniflesta el
      compromise del BGF.

      Cordialmente,




             ~
      Jesus M. Garcfa Rivera
      Vicepresidente y Director
      Departamento de Financlamiento
       de Obligaciones de Rentas

      c Sra. Natalia .Guzman
        Sr. Arnaldo Maestre
        Sra. Miriam Pascual
        Sra. Brenda Gonz~lez

      Anejo
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           PUERTO               RICO
           Banco Gubernamental de Fomento
           para Puerto Rico



                                           CERTIJF[CACION

            YO, ALEJANDRO FEBRES JORGE, Secretario de la Junta de Directores de! Banco

     Gubemarnental de Fomento para Puerto Rico, CERTIJFICO que la lResolucion 10554!

     es una copia fie! y exacta de la original que se encuentra bajo mi custodia. La misma fue adoptada

     por la Junta de Directores de! Banco Gubemamental de Fomento para Puerto Rico, en reunion

     debidamente convocaday celebrada el 17 de diciembre de 2014.

            CERTIFKCO, ADEMAS, que dicha Resoluci6n no ha sido derogada, revocada o

    ·anulada y se encuentra en toda su fuerza y vigor.

                                             RESOLUCION 10554

            APRUEBA LA EXTENSION AL VENCIMIENTO DE V ARIOS
            FINANCIAMIENTOS POR UN TOTAL DE $1,446,197,984.64 QUE LA
            AUTORIDAD DE CARRETERAS Y TRANSPORTACION TIENE
            VIGENTES CON EL BANCO GU:8ERNAMENTAL DE FOMENTO PARA
            PUERTO RICO HASTA EL 31 ENERO DE 2016

            POR CUANTO, al 31 de octubre de 2013, la Autoridad de Carreteras y Transportaci6n
     {ACT) tiene varias Jineas de ci:edito vigentes con el Banco Gubernamental de Fomento para
     Puerto Rico ("BGF") hasta total maximo de $2,080,094,587.64, de las cuales varias de ellas
     estan por veneer en enero de 2015. El balance actual de dichos financiamiento es de
     $1,446,197,984,984.4, con unbalance de principal de $1,223,899,356.04;

             POR CUANTO, la gerencia de! BGF recomend6 favorablemente la extension de los
     vencimientos de las financiamientos antes mencionados, con el prop6sito de que se mantengan
     vigentes en el BGF. De ser necesario, los balances disponibles se utilizaran para atender
     situaciones de emergencia de la ACT en lo que se realiza la emisi6n de bonos proyectada a
     traves de la Autoridad para el Financiamiento de la Infraestructura de Puerto Rico; y     ·

            POR TANTO, RESUELVASE por la Junta de Directores del Banco Gubemarnental de
     Fomento para Puerto Rico aprobar la extension de las lfneas de credito con vencimiento al 31 de
     enero de 2015 que la Autoridad de Carreteras y Transportaci6n tiene vigente con el BGF hasta el
     31 de enero de 2016, sujeto alosterminos y condiciones siguientes:

PO Box 42001
                                                                                            BANCO
San Juan, PR 00940-2001                                                                     GUBERNAMENTAL
Telefono (787) 722-2525                                                                     DB FOMENTO PARA
                                                                                   BGF PUERTO RICO
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   Junta de Directores del BGF
   Certificaci6n de la Resoluci6n I 0554
   PAgina2 de 2
   Aprobada el 17 de diciembre de 2014


       I: El Presidente de! Banco Gubernamental de Fomento para Puerto Rico, el Vicepresidente
           Ejecutivo de Financiamiento o cualquier otro vicepresidente ejecutivo, podra negociar
           terrninos y condiciones adicionales que sean necesarios para proteger los intereses de!
           BGF, asi coma canalizar los recursos e ingresos conespondientes de la ACT (Leyes 30 y
           31 de 25 de junio de 2013) para el repago de los financiamientos vigentes y cualquiera
           otras cantidades que el BGF cobre par concepto de obligaciones pendientes de la ACT.

       2. El Director Ejecutivo a la ACT y el Secretario de! Departamento de Transportaci6n y
          Obras Publicas deberan efectuar una.presentaci6n a esta- Junta de Directores sabre las
          finanzas de la ACT y el progreso de la implementaci6n de sus planes a mediano y largo
          plaza para atender de manera expedita y efectiva la situaci6n fiscal de la ACT, mas alla
          de los nuevos ingresos ya legislados.

       3. La ACT debera pagar al BGF los honorarios correspondientes por esta transacci6n
          conforrne a la politica vigente, ·segun revisada por la Junta de Directores mediante la
          Resoluci6n 9374 de 20 de octubre de 2010.

       Esta Resoluci6n se aprueba, ademas, como una declaraci6n oficial de intenci6n bajo la regulaci6n de!
       Depa1tamento de! Tesoro de los Estados Unidos, Secci6n 1.150-2.'

       Las disposiciones de esta Resoluci6n son efectivas a la fecha de aprobaci6n.

           Y PARA QUE AS! CONSTE, suscribo y estampo el sello corporativo de! Banco
   Gubemamental de Fomento para Puerto Rico.               En San Juan, Puerto Rlco, hoy, martes,
   13 de enero de 2015.



   (SELLO)                                                  ALEJANDRO FEBRES JORGE
                                                                 SECRETARIO




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                                                         LOAN AGREEMENT

                     THE FIRST PARTY: THE BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO

             RICO, public corporation of the Government of Puerto Rico, established pursuant to Law Number 17 of

             September 23, 1948, as amended, represented in this act by its Executive Vice President and Fiscal Agent, Jorge

             A. Clivillés Díaz, adult, married, with capacity and resident of San Juan, Puerto Rico (hereinafter, the “BANK”).

                     THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

             PUERTO RICO, a legal entity, established pursuant to Law No. 74 of June 23, 1965, as amended, (the

             “AUTHORITY”) represented in this act by Javier E. Ramos Hernández, Executive Director of the AUTHORITY,

             adult, married, engineer and residence of Bayamón, Puerto Rico.
[initials]




                                                              PREAMBLE

                     WHEREAS: The AUTHORITY is interested in obtaining financing to bear the operational expenses of

             the third quarter of Fiscal Year 2013.

                     WHEREAS: On January 17, 2013, the Board of Directors of the BANK approved Resolution No. 9944

             in order to grant to the AUTHORITY non-revolving credit line for the maximum amount of THIRTY-THREE

             MILLION ONE HUNDRED EIGHTY-NINE THOUSAND NINE HUNDRED NINETY-SIX DOLLARS

             ($33,189,996), which



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             includes the sum of Sixteen Thousand Five Hundred Ninety-Five Dollars ($16,595) to cover fees for

             financial consulting services.

                     THEREFORE, in consideration of the facts confirmed above and the representations, agreements and

             guarantees that are set forth below, the parties that appear approve and agree to grant this LOAN

             AGREEMENT.



                                                            ARTICLE 1.

                                                                LOAN

             1.1     Credit Line:

                     After the LEGAL DOCUMENTS referred to in Article 4.1 of this LOAN AGREEMENT are issued

             and signed, the BANK shall extend to the AUTHORITY a non-rotating CREDIT LINE for the maximum

             amount of principal of THIRTY-THREE MILLION ONE HUNDRED EIGHTY-NINE THOUSAND

             NINE HUNDRED NINETY-SIX DOLLARS ($33,189,996) to bear operational expenses of the
[initials]




             AUTHORITY corresponding to the third quarter of Fiscal Year 2013, including Sixteen Thousand Five

             Hundred Ninety-Five Dollars ($16,595) to cover the payment of fees for financial consulting services.

                     The CREDIT LINE shall be evidenced by a PROMISSORY NOTE for the principal sum of THIRTY-

             THREE MILLION ONE HUNDRED EIGHTY-NINE THOUSAND NINE HUNDRED NINETY-SIX

             DOLLARS ($33,189,996), signed on the same date that this LOAN AGREEMENT is signed and payable to

             the order of the BANK.




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                     The money from the CREDIT LINE shall only be used to bear operational expenses of the third quarter

             of Fiscal Year 2013 of the AUTHORITY and to cover the payment of fees for financial consulting services.

             1.2     Interest Rate:

                     The AUTHORITY approves and agrees to pay interest on the unpaid balance of principal of the CREDIT

             LINE calculated on the Prime Rate plus 150 basis points, which shall never be less than six percent (6%), or

             higher than twelve percent (12%), or any other interest rate that the President of the BANK or his designee

             determines, according to the market interest rate. If on the expiration date of the repayment obligation the

             AUTHORITY has not paid the unpaid balance of the principal, the AUTHORITY shall pay interest on that sum

             computed based on 200 basis points over the rate that would apply under this LOAN AGREEMENT.

             1.3     Term and Source of Payment:

                     The principal of the CREDIT LINE shall be payable on January 31, 2014. The source of payment shall
             be future issuances of bonds and income from private-public alliances as well as from the income of the
[initials]




             AUTHORITY.

                     The AUTHORITY may pay the full amount of the loan at any time before it expires with no penalty or
             premium.

             1.4     Disbursements

                     Prior to the first disbursement and for each disbursement, the AUTHORITY shall deliver to the BANK
             an original certificate which is the same as Annex A of this Agreement,




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             signed by the Executive Director of the AUTHORITY, or his designee, which shall be evidence that the

             disbursement request meet the purposes for with the CREDIT LINE was approved. The AUTHORITY shall

             include, in addition, any other documentation that the BANK in its full discretion requests from it prior to the

             disbursement, including, but not limited to, copies of invoices.

                     The disbursements under this financing are subject to compliance by the AUTHORITY with the Fiscal

             Agency Area of the BANK for the conditions stipulated in the Fiscal Oversight Agreement (FOA) that the

             AUTHORITY may have in effect with the BANK.



                                                                  ARTICLE 2.
                                                       AFFIRMATIVE AGREEMENTS
                     The AUTHORITY approves and agrees to perform the acts set forth below beginning from this date

             and until the full payment and final settlement of the principal and interest of the CREDIT LINE and any other
[initials]




             obligation with respect to it, unless the BANK otherwise agrees in writing.


             2.1     Request for Additional Information to Make Disbursements:
                             The BANK reserves the right to request from the AUTHORITY any additional information

             that may be necessary to issue disbursements or for any purpose in relation to this CREDIT LINE or

             PROMISSORY NOTE.


             2.2     Professional Fees for Financial Consulting Services:
                     The AUTHORITY approves and agrees to pay to the BANK the sum of Sixteen Thousand Five

             Hundred Ninety-Five Dollars ($16,595), equivalent to one twentieth part




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             (1/20) of one percent (1%), for professional fees corresponding to this transaction, according to the policy of the

             BANK in effect, which may be included as part of this financing, if necessary.

             2.3     Ground of Breach:


                     The AUTHORITY shall notify the BANK of any condition, fact or occurrence that may constitute a

             ground of breach or pursuant to the notification of which or the mere passage of time, or both, may constitute a

             ground of breach, by delivering to the BANK a certification signed by one of its officials, specifying the nature

             of such ground, the time during which it has existed, and what course of action the AUTHORITY proposes to

             initiate with respect to them. Such notification shall be sent to the BANK within ten (10) days after the occurrence

             of the breach.


             2.3     Payment for Extrajudicial Actions for Collection, Fees, Expenses, etc.:
[initials]




                     At the request of the BANK, the AUTHORITY shall promptly reimburse the BANK for the payment of

             costs, expenses and attorney’s fees incurred by the BANK in extrajudicial collection actions of any late

             instalment in relation to the CREDIT LINE owed by the AUTHORITY. The failure by the AUTHORITY to

             reimburse such costs, expenses and attorney’s fees shall constitute a ground of breach on the CREDIT LINE.


                     Such costs, expenses and attorney’s fees incurred by the BANK in accordance with the provisions of

             this LOAN AGREEMENT shall be reimbursed by the AUTHORITY immediately upon request.




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             2.5     Breach under the Legal Documents:

                     The AUTHORITY agrees that any breach of the terms of the PROMISSORY NOTE and/or the

             obligation letter, shall be deemed to be at the same time a breach of this LOAN AGREEMENT and vice versa,

             and if such breach occurs, the BANK shall immediately have the right to enforce any of the rights and privileges

             that may be conferred by any of the LEGAL DOCUMENTS.

             2.6     Authorization to Take Collateral:

                     The AUTHORITY has taken the appropriate and necessary measures, official or of another type, to

             authorize the issuance and delivery of the LEGAL DOCUMENTS without any limitation.
[initials]




                                                              ARTICLE 3.


                                                              BREACHES


             3.1     Grounds of Breach:


                     Each of the following shall constitute a ground of breach under the terms of this LOAN AGREEMENT:


                     3.1.1   if any representation given or extended by the AUTHORITY to the BANK in any of the

                             procedures and LEGAL DOCUMENTS or if any report, guarantee or financial certificate or any

                             other type of document provided to the BANK in relation to this LOAN AGREEMENT is found

                             to be false or misleading;




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                     3.1.2   failure to pay principal and interest and their penalties, if any, of the CREDIT LINE on

                             their due date in accordance with the terms of any of the LEGAL DOCUMENTS;


                     3.1.3   breach or violation by the AUTHORITY of any of the terms, clauses and conditions agreed

                             to with the BANK in the LEGAL DOCUMENTS; or


                     3.1.4   the failure by the AUTHORITY to remedy or cure within a time period of thirty (30) days

                             from its occurrence, without prior written notice by the BANK, any breach of the terms,

                             clauses and conditions of this LOAN AGREEMENT. This does not apply to the terms and

                             conditions related to the obligations to pay the LOAN AGREEMENT, since the

                             AUTHORITY shall strictly comply with such payment when it is due.
[initials]




             3.2     Remedies:


                     When any of the grounds of breach listed in Article 3.1 of this LOAN AGREEMENT occurs, and

             if such breach is not cured or remedied as provided, without any need to send any notice of breach, the

             rights to which the AUTHORITY hereby waives the granting, the BANK may:


                     3.2.1   proceed to claim the payment of the unpaid balance of the CREDIT LINE; or




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                     3.2.2   file a court proceeding requesting the specific performance of any term, clause or condition of

                             any of the LEGAL DOCUMENTS, or a temporary or permanent injunction to prevent the

                             AUTHORITY from violating any such terms, clauses or conditions; or


                     3.2.3   to enforce any other remedy to which it has a right under the laws of the Commonwealth of

                             Puerto Rico.


                     The AUTHORITY authorizes the BANK and grants it authorization, without any requirement of notice,

             to apply the right to set-off against the obligations that arise in this LOAN AGREEMENT, making any

             application of payments of any sum of money owned by the AUTHORITY in the possession of the

             AUTHORITY for the payment of the CREDIT LINE and accumulated interest, in the event of any breach by

             the AUTHORITY of its payment obligations under the LOAN AGREEMENT.
[initials]




                                                             ARTICLE 4.


                                                 MISCELLANEOUS PROVISIONS


             4.1     Legal Documents:


                     As used in this LOAN AGREEMENT, the term LEGAL DOCUMENTS means:


                             1. PROMISSORY NOTE


                             2. LOAN AGREEMENT


             4.2     Waivers, Relief, Extensions, Forbearance and Additional Remedies:




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                     No delay or late performance by the BANK or by any holder or owner of the PROMISSORY NOTE in

             the enforcement of any right, authority or remedy that it may have in accordance with the terms of any of the

             LEGAL DOCUMENTS shall be deemed to be a waiver, limitation or reduction of such rights, authorities or

             remedies, and the partial or exclusive enforcement of any of them shall not be an impediment for them to

             subsequently be fully enforced, including, but not limited to, the right to offset. Remedies in favor of the BANK

             provided in the LEGAL DOCUMENTS shall be deemed to be in addition to, any not to exclude, any other remedy

             set forth in law. For any relief, extension or forbearance extended by the BANK to the AUTHORITY, or any

             amendment to this LOAN AGREEMENT to be enforceable, it shall appear in writing signed by an authorized

             official of the BANK, which shall specifically state the scope of the relief, extension, forbearance or amendment

             granted. Any relief, extension, forbearance or amendment granted shall be valid only for the occurrence or

             potential occurrence for which it was granted.
[initials]




             4.3     Addresses for Notices, etc.:

                     Any notice, claim, directive or other communication provided by the LEGAL DOCUMENTS shall be

             recorded in writing and shall be delivered in person or sent by fax or mail to the following addresses:

                     TO THE “AUTHORITY”:


                     Highways and Transportation Authority
                     Department of Transportation and Public Works
                     P.O. Box 42007


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                     San Juan, Puerto Rico 00940-2007
                     (787) 721-8787

                     Attention: Executive Director

                     TO THE “BANK”:

                     Banco Gubernamental de Fomento para Puerto Rico
                     P.O. Box 42001
                     San Juan, Puerto Rico 00940-2001
                     Fax: (787) 721-1443

                     Attention: President

                     or to any other address that the parties indicate by written notice sent in accordance with the provisions

             in this Article. These shall be deemed to be perfected after they have been duly deposited postmarked in the mail

             and sent to the addresses stated.

             4.4     Successors and Beneficiaries:
[initials]




                     The agreements and clauses contained herein shall obligate and benefit the parties and their respective

             beneficiaries, executors, administrators, successors and assignees.

             4.5     Waivers by the AUTHORITY of Presentation, Protest, etc.:

                     The AUTHORITY waives any notice of acceptance or demand or requirement to meet any condition

             precedent by the BANK, as well as waiver of rights of presentation, protest, notice of protest, payment request,

             notice of breach or failure to pay, release, compromise, set-off, settlement, extension, renewal or extension of

             any contractual right or legal instrument and, in general, any other legal formality.



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             4.6     Statement of Intent

                     This LOAN AGREEMENT is granted as an official statement of intent under the regulation of the

             Department of the Treasury of the United States, Section 1.150-2.



                                                   [SIGNATURE PAGE BELOW]
[initials]




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        IN WITNESS WHEREOF, the parties who appear grant this LOAN AGREEMENT, in San Juan,

Puerto Rico, on [hw:] February [hw:] 28, 2013.

 BANCO GUBERNAMENTAL DE                                HIGHWAYS AND TRANSPORTATION
 FOMENTO PARA PUERTO RICO                              AUTHORITY OF PUERTO RICO

         [signature]                                           [signature]
 Jorge A. Clivillés Díaz                               Javier E. Ramos Hernández
 Executive Vice President                              Executive Director
 and Fiscal Agent

Statement [hw:] 778

        Acknowledged and signed before me by Javier E. Ramos Hernández, adult, married, engineer and
resident of Bayamón, Puerto Rico, in his capacity as Executive Director of the Highways and Transportation
Authority of Puerto Rico, whom I know personally.

       In San Juan, Puerto Rico, on [hw:] February [hw:] 28, 2013.
 [stamp:]
 MARGUILEÁN
 RIVERA AMILL             EXEMPT FOR PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY          LAW 47 OF JUNE 4, 1982                                   [signature]
                                                                                   Public Notary


Statement [hw:] 780

       Acknowledged and signed before me by Jorge A. Clivillés Díaz, adult, married and resident of San Juan,
Puerto Rico, in his capacity as Executive Vice President and Fiscal Agent of the Banco Gubernamental de
Fomento para Puerto Rico, whom I know personally.

       In San Juan, Puerto Rico, on [hw:] February [hw:] 28, 2013.
 [stamp:]
 MARGUILEÁN
 RIVERA AMILL             EXEMPT FOR PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY          LAW 47 OF JUNE 4, 1982                                   [signature]
                                                                                   Public Notary

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                                          FIRST AMENDMENT TO LOAN AGREEMENT

                                                                  APPEAR

                     THE FIRST PARTY: The BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO

             RICO, a banking institution organized and existing pursuant to Law No. 17, approved on September 23, 1948,

             as amended (the “BANK”), represented in the act by Jorge A. Clivillés Díaz, Executive Vice President and Fiscal

             Agent, adult, married and resident of San Juan, Puerto Rico.

                     THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

             PUERTO RICO, a legal entity established pursuant to Law No. 74 of June 23, 1965, as amended (the

             “AUTHORITY”), represented in this act by Javier E. Ramos Hernández, Executive Director, adult, married and

             a resident of Bayamón, Puerto Rico.

                     Unless any term written in capital letters is defined otherwise in this First Amendment to the Loan

             Agreement (the “FIRST AMENDMENT TO THE LOAN AGREEMENT”), it shall have the meaning given in
[initials]




             the LOAN AGREEMENT, as defined below.

                                                              PREAMBLE

                     WHEREAS: On January 17, 2013, the Board of Directors of the BANK approved Resolution No. 9944

             to grant to the AUTHORITY a non-revolving line of credit for the maximum amount of $33,189,996, including

             payment of fees for financial consulting services.




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                     WHEREAS: In accordance with the above, on February 28, 2013, the AUTHORITY and the BANK

             signed a Loan Agreement (the “LOAN AGREEMENT”), effective on September 12, 2012, granting to the

             AUTHORITY a non-revolving CREDIT LINE for the maximum amount of $33,189,996, to bear operational

             expenses of the AUTHORITY corresponding to the third quarter of Fiscal Year 2013 and to cover the payment

             of fees for financial consulting services for the amount of $16,595.

                     On the same date of the granting of the LOAN AGREEMENT, the AUTHORITY signed a

             PROMISSORY NOTE for the sum of $33,189,996 to the order of the BANK and with expiration on January 31,

             2014.

                     WHEREAS: On October 31, 2013, the balance of the principal of the CREDIT LINE totals

             $32,224,244.47 with accrued interest for the amount of $564,387.93.

                     WHEREAS: The AUTHORITY has requested, and the management of the BANK has recommended,

             to amend the CREDIT LINE for the purpose of extending the expiration of the CREDIT LINE until January 31,
[initials]




             2015.

                     WHEREAS: The Board of Directors of the BANK has authorized by Resolution No. 10197 adopted at

             a meeting held on November 20, 2013, to amend the LOAN AGREEMENT for purposes of extending the

             expiration date until January 31, 2015 and to request the payment of professional fees for financial consulting

             services, among other terms and conditions.

                     WHEREAS: In accordance with Resolution No. 2014-04 issued on January 30, 2014 by the Board of

             Directors of the AUTHORITY, the AUTHORITY




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             accepted the terms and conditions set forth by the BANK for this amendment.

                     THEREFORE, in consideration of the facts confirmed above, and of the representations, approvals and

             guarantees set forth below, the parties that appear:

                                                        APPROVE AND AGREE

                     FIRST: The first sentence of Section 1.3 of Article 1 of the LOAN AGREEMENT is amended to read

             as follows:

                     “The principal of the CREDIT LINE shall be payable on January 31, 2015.”


                     SECOND: The AUTHORITY acknowledges, accepts and agrees to pay the BANK professional fees

             for financial consultancy services equal to one twenty-fifth (1/25) of one percent (1%), for a total of Thirteen

             Thousand Two Hundred Seventy-Six Dollars ($13,276) corresponding to this transaction and according to the
[initials]




             policy of the BANK in effect.

                     THIRD: On this same date, the AUTHORITY signs and issues a document entitled FIRST

             AMENDMENT TO THE PROMISSORY NOTE (“ALLONGE”). This ALLONGE shall be made to form a part

             of the original PROMISSORY NOTE signed by the AUTHORITY, as amended, for the purpose of incorporating

             the agreements and amendments set forth herein.

                     FOURTH: This FIRST AMENDMENT TO THE LOAN AGREEMENT and its ALLONGE do not

             constitute a novation of the obligations of the AUTHORITY under the LOAN AGREEMENT and




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             PROMISSORY NOTE, as amended. Any of the other terms and conditions of the LOAN AGREEMENT and

             the PROMISSORY NOTE, as amended, that do not violate the provisions herein shall remain unchanged and

             in full effect.

                      FIFTH: This FIRST AMENDMENT TO THE LOAN AGREEMENT is signed in accordance with

             Resolution 10197 adopted by the Board of Directors of the BANK on November 20, 2013, which was approved

             as a statement of intent under Section 1.150-2 of U.S. Treasury Department Regulation Section 1.150-2.

                                              [SIGNATURES ON THE NEXT PAGE]
[initials]




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        IN WITNESS WHEREOF, the parties who appear grant this FIRST AMENDMENT TO THE LOAN

AGREEMENT, in San Juan, Puerto Rico, on January [hw:] 31, 2014.



 BANCO GUBERNAMENTAL DE                                HIGHWAYS AND TRANSPORTATION
 FOMENTO PARA PUERTO RICO                              AUTHORITY OF PUERTO RICO

         [signature]                                           [signature]
 Jorge A. Clivillés Díaz                               Javier E. Ramos Hernández
 Executive Vice President                              Executive Director
 and Fiscal Agent

Statement [hw:] 910

        Acknowledged and signed before me by Javier E. Ramos Hernández, adult, married, engineer and
resident of Bayamón, Puerto Rico, in his capacity as Executive Director of the Highways and Transportation
Authority of Puerto Rico, whom I know personally. In San Juan, Puerto Rico, on January [hw:] 31, 2014.
 [stamp:]
 MARGUILEÁN
 RIVERA AMILL              EXEMPT FOR PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY           LAW 47 OF JUNE 4, 1982                                 [signature]
                                                                                  Public Notary


Statement [hw:] 912

       Acknowledged and signed before me by Jorge A. Clivillés Díaz, adult, married and resident of San Juan,
Puerto Rico, in his capacity as Executive Vice President and Fiscal Agent of the Banco Gubernamental de
Fomento para Puerto Rico, whom I know personally. In San Juan, Puerto Rico, on January [hw:] 31, 2014.
 [stamp:]
 MARGUILEÁN
 RIVERA AMILL              EXEMPT FOR PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY           LAW 47 OF JUNE 4, 1982                                [signature]
                                                                                 Public Notary

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             Case:17-03283-LTS
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                                        SECOND AMENDMENT TO LOAN AGREEMENT

                                                               APPEAR

                     THE FIRST PARTY: The BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO

             RICO, a banking institution organized and existing pursuant to Law No. 17, approved on September 23, 1948,

             as amended (the “BANK”), represented in the act by Jorge A. Clivillés Díaz, Executive Vice President and Fiscal

             Agent, adult, married and resident of San Juan, Puerto Rico.

                     THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

             PUERTO RICO, a public corporation and instrumentality of the Commonwealth of Puerto Rico established

             pursuant to Law No. 74 of June 23, 1965, as amended (the “AUTHORITY”), represented in this act by Carmen

             A. Villar Prados, Executive Director, adult, married and resident of Guaynabo, Puerto Rico.

                     Unless any term written in capital letters is defined otherwise in this First Amendment to the Loan

             Agreement (the “SECOND AMENDMENT TO THE LOAN AGREEMENT”), it shall have the meaning given

             in the LOAN AGREEMENT, as defined below.

                                                             PREAMBLE

                     WHEREAS: On January 17, 2013, the Board of Directors of the BANK approved Resolution No. 9944
[initials]




             to grant to the AUTHORITY a non-revolving line of credit




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             For up to a maximum amount of $33,189,996, including payment of fees for financial consulting services.

                     WHEREAS: In accordance with the above, on February 28, 2013, the AUTHORITY and the BANK

             signed a Loan Agreement (the “LOAN AGREEMENT”), effective on September 12, 2012, granting to the

             AUTHORITY a non-revolving CREDIT LINE for the maximum amount of $33,189,996, to bear operational

             expenses of the AUTHORITY corresponding to the third quarter of Fiscal Year 2013 and to cover the payment

             of fees for financial consulting services for the amount of $16,595.

                     On the same date of the granting of the LOAN AGREEMENT, the AUTHORITY signed a

             PROMISSORY NOTE for the sum of $33,189,996 to the order of the BANK and with expiration on January 31,

             2014.

                     WHEREAS: On January 31, 2014, the BANK and the AUTHORITY signed a First Amendment to loan

             agreement for purposes of extending the expiration until January 31, 2015. On that same date, the AUTHORITY

             signed a First Amendment to Promissory Note (“Allonge”) to incorporate the amendment.

                     WHEREAS: On December 31, 2014, the balance of the principal of the CREDIT LINE totals

             $32,612,861.79 with accrued interest for the amount of $1,660,706.17.

                     WHEREAS: The management of the BANK has recommended, to amend the CREDIT LINE for the

             purpose of extending the expiration of the CREDIT LINE until January 31, 2016.
[initials]




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                     WHEREAS: The Board of Directors of the BANK has authorized by Resolution No. 10554 adopted at

             a meeting held on December 17, 2014 (“Resolution 10554”), to amend the LOAN AGREEMENT for purposes

             of extending the expiration date until January 31, 2016 and to request the payment of professional fees for

             financial consulting services, among other terms and conditions.

                     WHEREAS: In accordance with Resolution No. 2015-07 adopted on January 15, 2015 by the Board of

             Directors of the AUTHORITY, the AUTHORITY accepted the terms and conditions set forth by the BANK for

             this amendment.

                     THEREFORE, in consideration of the facts confirmed above, and of the representations, approvals and

             guarantees set forth below, the parties that appear:

                                                        APPROVE AND AGREE

                     FIRST: The parties agree to extend the expiration date of the CREDIT LINE and to include the income

             assigned to the AUTHORITY under Laws [sic] Number 30 and 31 of June 25, 2013 as an additional source of

             payment of the obligation. As a consequence, the first paragraph of Section 1.3 of Article 1 of the LOAN

             AGREEMENT, as amended, is amended to read as follows:

                     “The principal of the CREDIT LINE shall be payable on January 31, 2016. The source of
                     payment shall be future issuances of bonds and income from private-public alliances as well as
                     income of the AUTHORITY, including income assigned under Laws Number 30 and 31 of June
                     25, 2013, which are assigned and obligated in favor of the BANK through the Assignment and
                     Security Agreement signed on August 28, 2013 between the BANK and the AUTHORITY.”



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                      in favor of the BANK through the Assignment and Security Agreement signed on August 28,
                      2013 between the BANK and the AUTHORITY.”

                      SECOND: The AUTHORITY acknowledges, accepts and agrees to pay the BANK professional fees

             for financial consultancy services equal to one twenty-fifth (1/25) of one percent (1%), for a total of Thirteen

             Thousand Two Hundred Seventy-Six Dollars ($13,276.00) corresponding to this transaction and according

             to the policy of the BANK in effect.

                      THIRD: On this same date, the AUTHORITY signs and issues a document entitled SECOND

             AMENDMENT TO THE PROMISSORY NOTE (“ALLONGE”). This ALLONGE shall be made to form a

             part of the original PROMISSORY NOTE signed by the AUTHORITY, as amended, for the purpose of

             incorporating the agreements and amendments set forth herein.

                      FOURTH: This SECOND AMENDMENT TO THE LOAN AGREEMENT and its ALLONGE do

             not constitute a novation of the obligations of the AUTHORITY under the LOAN AGREEMENT and

             PROMISSORY NOTE, as amended. Any of the other terms and conditions of the LOAN AGREEMENT and

             the PROMISSORY NOTE, as amended, that do not violate the provisions herein shall remain unchanged and

             in full effect.

                      FIFTH: The President of the BANK, the Executive Vice President of Financing and any other

             executive vice president, is authorized to channel the resources and income of the AUTHORITY corresponding

             to Laws 30 and 31 of June 25, 2013 for the repayment of the financing in effect and any other




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             amounts that the BANK collects for pending obligations of the AUTHORITY.

                     SIXTH: The Executive Director of the AUTHORITY and the Secretary of the Department of

             Transportation and Public Works shall make a presentation to the Board of Directors of the BANK on the finances

             of the AUTHORITY and the progress of the implementation of its medium and long-term plans to quickly and

             effectively address the fiscal situation of the AUTHORITY, in addition to the new income previously legislated.

             This presentation shall be carried out before any disbursement by the BANK if any funds still remain available

             under the CREDIT LINE.

                     SEVENTH: This SECOND AMENDMENT TO THE LOAN AGREEMENT is signed in accordance

             with Resolution 10554, which was adopted as a statement of intent under U.S. Treasury Department Regulation

             Section 1.150-2.



                                               [SIGNATURES ON THE NEXT PAGE]




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IN WITNESS WHEREOF, the parties who appear grant this SECOND AMENDMENT TO THE LOAN

AGREEMENT, in San Juan, Puerto Rico, on May [hw:] 20, 2015.



 BANCO GUBERNAMENTAL DE                                HIGHWAYS AND TRANSPORTATION
 FOMENTO PARA PUERTO RICO                              AUTHORITY OF PUERTO RICO

         [signature]                                          [signature]
 Jorge A. Clivillés Díaz                               Carmen A. Villar Prados
 Executive Vice President                              Executive Director
 and Fiscal Agent

Statement [hw:] 737

        Acknowledged and signed before me by Jorge A. Clivillés Díaz, adult, married, engineer and resident of
Bayamón, Puerto Rico, in his capacity as Executive Vice President and Fiscal Agent of the Banco Gubernamental
de Fomento para Puerto Rico, and by Carmen A. Villar Prados, adult, married and resident of Guaynabo, Puerto
Rico, in her capacity as Executive Director of the Highways and Transportation Authority of Puerto Rico, whom
I know personally.

       In San Juan, Puerto Rico, on May [hw:] 20, 2015.
 [stamp:] BELEN
 FORNARIS ALFARO
 PUERTO RICO              EXEMPT FOR PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY
                          LAW 47 OF JUNE 4, 1982                                   [signature]
                                                                                   Public Notary




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                        SECOND AMENDMENT TO PROMISSORY NOTE
                                    (“ALLONGE”)

VALUE: $33,189,996                                                  EXPIRATION: January 31, 2016

        The PROMISSORY NOTE for THIRTY-THREE MILLION ONE HUNDRED EIGHTY-NINE
THOUSAND NINE HUNDRED NINETY-SIX DOLLARS ($33,189,996), signed on February 28, 2013 by Javier
E. Ramos Hernández in capacity as Executive Director of the Highways and Transportation Authority of Puerto Rico
(the “AUTHORITY”) before the Notary Marguileán Rivera Amill, statement number 779, as amended by the FIRST
AMENDMENT TO PROMISSORY NOTE (“ALLONGE”) signed on January 31, 2014 by that official before Notary
Marguileán Rivera Amill, statement number 911, is hereby amended to extend its expiration date until January 31,
2016.

     The other terms and conditions of the PROMISSORY NOTE, as amended, not inconsistent with this SECOND
AMENDMENT TO PROMISSORY NOTE, shall remain unchanged and in full effect.

       This modification is made pursuant to the SECOND AMENDMENT TO LOAN AGREEMENT that the and
the AUTHORITY have signed on this date.

        In San Juan, Puerto Rico, on May [hw:] 20 2015.

                                                          HIGHWAYS AND TRANSPORTATION
                                                          AUTHORITY OF PUERTO RICO

                                                                  [signature]
                                                          Carmen A. Villar Prados
                                                          Executive Director


Statement [hw:] 736

        Acknowledged and signed before me by Carmen A. Villar Prados, Executive Director, adult,
married and resident of Guaynabo, Puerto Rico, in her capacity as Executive Director of the Highways and
Transportation Authority of Puerto Rico, whom I know personally.

       In San Juan, Puerto Rico, on May [hw:] 20, 2015.
 [stamp:] BELEN
 FORNARIS ALFARO
 PUERTO RICO              EXEMPT FOR PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY
                          LAW 47 OF JUNE 4, 1982                                        [signature]
                                                                                        Public Notary

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              [emblem]     COMMONWEALTH OF
                           PUERTO RICO
                           Banco Gubernamental de Fomento
                           para Puerto Rico

                                                       CERTIFICATION

                      I, ALEJANDRO FEBRES JORGE, Secretary of the Board of Directors of the Banco

             Gubernamental de Fomento para Puerto Rico, CERTIFY that Resolution 10554 is a true and correct copy

             of the original that is under my custody. It was adopted by the Board of Directors of the Banco

             Gubernamental de Fomento para Puerto Rico, at a meeting duly convened and held on December 17, 2014.

                      I CERTIFY, IN ADDITION, that this Resolution has not been repealed, revoked or cancels and it

             is in full force and effect.

                                                      RESOLUTION 10554

                      APPROVES THE EXTENSION OF THE EXPIRATION DATE OF VARIOUS
                      FINANCING FOR A TOTAL OF $1,446,197,984.64 THAT THE HIGHWAYS AND
[initials]




                      TRANSPORTATION AUTHORITY HAS IN EFFECT WITH THE BANCO
                      GUBERNAMENTAL DE FOMENTO PARA PUERTO RICO UNTIL JANUARY 31,
                      2016

                      WHEREAS, on October 31, 2013, the Highways and Transportation Authority (ACT) has various
             credit lines in effect with the Banco Gubernamental de Fomento para Puerto Rico (“BGF”) up to the total
             maximum of $2,080,094,587.64, of which some of the credit lines are due to expire in January 2015. The
             current balance of this financing is $1,446,197,984,984.4, with a principal balance of $1,223,899,356.04;

                     WHEREAS, the management of the BGF favorably recommended the extension of the expiration
             dates of the above-mentioned financing, for the purpose of maintaining them in effect at the BGF. If
             necessary, the available balances will be used to address emergency situations of the ACT in which the
             planned bond issuance through the Authority for Infrastructure Financing of Puerto Rico will be conducted.

                      THEREFORE, BE IT RESOLVED by the Board of Directors of the Banco Gubernamental de
             Fomento para Puerto Rico to approve the extension of the credit lines with expiration on January 31, 2015
             that the Highways and Transportation Authority has in effect with the BGF until January 31, 2016, subject
             to the following terms and conditions:

              PO Box 42001                                                          [logo:] BANCO
              San Juan, PR 00940-2001                                                       GUBERNAMENTAL
              Telephone (787) 722-2525                                                      DE FORMENTO PARA
                                                                                            PUERTO RICO
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Board of Directors of the BGF
Certification of Resolution 10554
Page 2 of 2
Approved on December 17, 2014

    1. The President of the Banco Gubernamental de Fomento para Puerto Rico, the Executive Vice
       President of Financing or any other executive vice president, may negotiate any additional terms
       and conditions that may be necessary to protect the interests of the BGF, and may channel resources
       and income of the ACT (Laws 30 and 31 of June 25, 2013) for the repayment of current financing
       and any other amounts that the BGF collects for pending obligations of the ACT.

    2. The Executive Director at the ACT and the Secretary of the Department of Transportation and Public
       Works shall make a presentation to this Board of Directors on the finances of the ACT and the
       progress of implementation of its medium and long-term plans to quickly and effectively address
       the fiscal situation of the ACT, in addition to the new income previously legislated.

    3. The ACT shall pay to the BGF the applicable professional fees for this transaction in accordance
       with the policy in effect, as reviewed by the Board of Directors by Resolution 9374 of October 20,
       2010.
  This Resolution is approved, in addition, as an official statement of intent under United States Treasury Department
  regulation, Section 1.150-2.

  The provisions of this Resolution are effective on the date of approval.

          AND IN WITNESS WHEREOF, I sign and stamp with the corporate seal of the Banco

  Gubernamental de Fomento para Puerto Rico. In San Juan, Puerto Rico, on this day, Tuesday, January 13,

  2015.

                                                                               [signature]
   (SEAL)                                                              ALEJANDRO FEBRES JORGE
                                                                             SECRETARY




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                                           COMMONWEALTH OF PUERTO RICO
                                   DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS
                                                       [logo:]
                                       HIGHWAYS AND TRANSPORTATION AUTHORITY

                                                    RESOLUTION NO. 2015-07

                      TO AUTHORIZE UNTIL JANUARY 31, 2016 THE EXTENSION OF THE
                  EXPIRATION DATE OF VARIOUS CREDIT LINES THAT THE HIGHWAYS AND
              TRANSPORTATION AUTHORITY MAINTAINS WITH THE BANCO GUBERNAMENTAL DE
               FOMENTO PARA PUERTO RICO, WITH THE EXPIRATION DATE OF JANUARY 31, 2015

                     WHEREAS: By Law No. 41-2014 a Board of Directors was established in the Highways and

             Transportation Authority (hereinafter the “Authority”) and it was provided that the authorities and duties of

             the Authority shall be conducted by this Board.

                     WHEREAS: At an Ordinary Board Meeting, held on January 15, 2015, the Executive Director of

             the Authority submitted to the Board a request for the authorization of the extension of the expiration date

             of several credit lines that this Authority maintains with the Banco Gubernamental de Fomento para Puerto

             Rico (BGF). The referenced credit lines have a current balance of $1,446,197,984.64, with a principal

             balance of $1,223,899,356.04. An annex is attached with a detailed description of these credit lines (Annex
[initials]




             1).

                     WHEREAS: The Board of Directors of the BGF, by Resolution 10554, adopted on December 17,

             2014, approved the extension of the expiration dates of these credit lines until January 31, 2016 (Annex 2).

                     WHEREAS: After extensively discussing the matter, the Board approved that the Highways and

             Transportation Authority may extend the expiration date of these credit lines with the BGF.

                     THEREFORE: BE IT RESOLVED BY THIS BOARD OF DIRECTORS:

                     1) To authorize the extension until January 31, 2016 of the expiration date of several credit lines

                         that the Highways and Transportation Authority maintains with the Banco Gubernamental de

                         Fomento para Puerto Rico, which have the expiration date of January 31, 2015.

                     2) The Authority shall pay to the Banco Gubernamental de Fomento the applicable professional

                         fees for this transaction, according to the policy in effect for these purposes.
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             Resolution Number 2015-07
             January 15, 2015
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                      3) Authorize the Executive Director of the Authority to accept the terms and conditions established by the

                          Banco Gubernamental de Fomento para Puerto Rico as a condition for these extensions and for the

                          agreements necessary for their performance to be signed.

                     4) Authorize the Executive Director of the Authority to sign the legal documents applicable to these

                          extensions of expiration dates.

                     5) This resolution shall take effect immediately.

                       WE, HON. MIGUEL A. TORRES DÍAZ, President of the Board of Directors, and LCDA.1 YASMÍN M.
             SANTIAGO ZAYAS, Secretary of the Board of Directors of the Highways and Transportation Authority, CERTIFY
             that the above is a true and correct Resolution approved by the Board of Directors at an Ordinary Meeting held in San
[initials]




             Juan, Puerto Rico on January 15, 2015.

                                                                                                                [signature]
                                                                                            HON. MIGUEL A. TORRES DIAZ
                                                                                                           Chairman of the Board
                                                                         Secretary, Department of Transportation and Public Works

             [signature]
             LCDA. YASMIN M. SANTIAGO ZAYAS
             Secretary of the Corporation




             1
               [Translator’s note: The term "Licenciado(a)" is an academic title used by lawyers and others with a Bachelor's
             Degree in many different fields.]
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                                      CERTIFICATION

                    I, Yasmín M. Santiago Zayas, Secretary of the Corporation,
             CERTIFY that the information above is a true and correct copy of
             Resolution No. 2015-07 approved by the Board of Directors of the
             Highways and Transportation Authority on January 15, 2015.

                   In witness whereof, I sign and stamp the Official Seal of the
             Highways and Transportation Authority, on this date February 12, 2015.




                                            [signature]
                                            Yasmín M. Santiago Zayas
                                            Secretary of the Corporation
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  Expiration
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               FMC
                                   Purpose

               Fiscal Emergency Loan
               Pay [illegible] Series 2000 A
               ARRA Funds [illegible]
                                                                 Maximum Authorized
                                                                              'U>l:.$tr,.s.ti~•
                                                                           .. -~~~
                                                                              ~~~~
                                                                               ~ffl;ri
                                                                                                                         -~~Jr.~
                                                                                                       Balance as of 11/20/2014


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                                                                                                                             ;ti~&
 JAN-31-15     To pay costs of issuance PRHTA 2003 Series AA                       s~~,\l"8.'                                    ).$16'~t92
               &H
 JAN-31-15     To pay settlement agreements of Consortium                      .t,7,At9,fll;ffi'                             ~    -~-.
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               and Acelona
 JAN-31-15     Swap Collateral Series N & Swap Termination                    ~;.o-tt . ~!I'. •

 JAN-31-15     PMC
 JAN-31-15     PMC
 JAN-31-15     Operational – January/March 201 [illegible]
 JAN-31-15     Operational


 Credit Lines that form financing for $156,907,923.71
 JAN-31-15     PMC
 JAN-31-15     Operational
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 Credit lines that form the financing for $172,928,442.74

 JAN-31-15     To pay PMC suppliers
 JAN-31-15     To pay suppliers




                                          [initials]

                                                  [stamp:] [illegible]
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-7
                                 Doc#:46-22 Filed:08/26/21
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                                                                 of 74
              [emblem]     COMMONWEALTH OF
                           PUERTO RICO
                           Banco Gubernamental de Fomento
                           para Puerto Rico

                                                        CERTIFICATION

                      I, ALEJANDRO FEBRES JORGE, Secretary of the Board of Directors of the Banco

             Gubernamental de Fomento para Puerto Rico, CERTIFY that Resolution 10554 is a true and correct copy

             of the original that is under my custody. It was adopted by the Board of Directors of the Banco

             Gubernamental de Fomento para Puerto Rico, at a meeting duly convened and held on December 17, 2014.

                      I CERTIFY, IN ADDITION, that this Resolution has not been repealed, revoked or cancels and it

             is in full force and effect.

                                                      RESOLUTION 10554

                      APPROVES THE EXTENSION OF THE EXPIRATION DATE OF VARIOUS
                      FINANCING FOR A TOTAL OF $1,446,197,984.64 THAT THE HIGHWAYS AND
                      TRANSPORTATION AUTHORITY HAS IN EFFECT WITH THE BANCO
[initials]




                      GUBERNAMENTAL DE FOMENTO PARA PUERTO RICO UNTIL JANUARY 31,
                      2016

                      WHEREAS, on October 31, 2013, the Highways and Transportation Authority (ACT) has various
             credit lines in effect with the Banco Gubernamental de Fomento para Puerto Rico (“BGF”) up to the total
             maximum of $2,080,094,587.64, of which some of the credit lines are due to expire in January 2015. The
             current balance of this financing is $1,446,197,984,984.4, with a principal balance of $1,223,899,356.04;

                     WHEREAS, the management of the BGF favorably recommended the extension of the expiration
             dates of the above-mentioned financing, for the purpose of maintaining them in effect at the BGF. If
             necessary, the available balances will be used to address emergency situations of the ACT in which the
             planned bond issuance through the Authority for Infrastructure Financing of Puerto Rico will be conducted.

                      THEREFORE, BE IT RESOLVED by the Board of Directors of the Banco Gubernamental de
             Fomento para Puerto Rico to approve the extension of the credit lines with expiration on January 31, 2015
             that the Highways and Transportation Authority has in effect with the BGF until January 31, 2016, subject
             to the following terms and conditions:

              PO Box 42001                       [stamp:] BGF [illegible]           [logo:] BANCO
              San Juan, PR 00940-2001            [initials]                                 GUBERNAMENTAL
              Telephone (787) 722-2525                                                      DE FORMENTO PARA
                                                                                            PUERTO RICO
Case:17-03283-LTS
 Case:21-00068-LTS Doc#:18815-7
                    Doc#:46-22 Filed:08/26/21
                                  Filed:10/27/21 Entered:08/26/21
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                                             69 of
                                                 6981
                                                    of 74
Board of Directors of the BGF
Certification of Resolution 10554
Page 2 of 2
Approved on December 17, 2014

    1. The President of the Banco Gubernamental de Fomento para Puerto Rico, the Executive Vice
       President of Financing or any other executive vice president, may negotiate any additional terms
       and conditions that may be necessary to protect the interests of the BGF, and may channel resources
       and income of the ACT (Laws 30 and 31 of June 25, 2013) for the repayment of current financing
       and any other amounts that the BGF collects for pending obligations of the ACT.

    2. The Executive Director at the ACT and the Secretary of the Department of Transportation and Public
       Works shall make a presentation to this Board of Directors on the finances of the ACT and the
       progress of implementation of its medium and long-term plans to quickly and effectively address
       the fiscal situation of the ACT, in addition to the new income previously legislated.

    3. The ACT shall pay to the BGF the applicable professional fees for this transaction in accordance
       with the policy in effect, as reviewed by the Board of Directors by Resolution 9374 of October 20,
       2010.

  This Resolution is approved, in addition, as an official statement of intent under United States Treasury Department
  regulation, Section 1.150-2.

  The provisions of this Resolution are effective on the date of approval.

          AND IN WITNESS WHEREOF, I sign and stamp with the corporate seal of the Banco

  Gubernamental de Fomento para Puerto Rico. In San Juan, Puerto Rico, on this day, Tuesday, January 13,

  2015.

                                          [initials]                           [signature]
   (SEAL)                                                              ALEJANDRO FEBRES JORGE
                                                                             SECRETARY




  40606                                                                         [stamp:] BGF [illegible]
       Case:17-03283-LTS
        Case:21-00068-LTS Doc#:18815-7
                           Doc#:46-22 Filed:08/26/21
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         [emblem]     COMMONWEALTH OF
                      PUERTO RICO
                      Banco Gubernamental de Fomento
                      para Puerto Rico

        February 4, 2015




         Engineer Carmen Villar Prado
         Executive Director                                                      [signature]
         Highways and Transportation Authority                               [hw:] May 26, 2015
         Apartado 42007
         San Juan, PR 00940-2007


        Dear Engineer Villar:

        The Board of Directors of the Banco Gubernamental de Fomento para Puerto Rico (BGF), through ITS
        Resolution 10554, approved for the Highways and Transportation Authority (ACT) the extension until
        January 31, 2016 on the expiration of various financing in effect for a total of $1,446,197,984.64.

        The above-mentioned extension shall be subject to the following additional terms and conditions:

            1. The President of the Banco Gubernamental de Fomento para Puerto Rico, the Executive Vice
               President of Financing or any other executive vice president, may negotiate any additional terms
               and conditions that may be necessary to protect the interests of the BGF, and may channel the
               resources and income corresponding to the ACT (Laws 30 and 31 of June 25, 2013) for the
               repayment of the financing in effect and any other amounts that the BGF collects for pending
               obligations of the ACT.

            2. The Executive Director of the ACT and the Secretary of the Department of Transportation and
               Public Works shall make a presentation to this Board of Directors on the finances of the ACT and
               the progress of the implementation of its medium and long-term plans to quickly and effectively
               address the fiscal situation of the ACT, in addition to the new income previously legislated.

            3. The ACT shall pay to the BGF the corresponding professional fees for this transaction in accordance
               with the policy in effect, as reviewed by the Board of Directors through Resolution 9374 of October
               20, 2010.




         PO Box 42001                       [stamp:] BGF [illegible]           [logo:] BANCO
[initials] San Juan, PR 00940-2001          [initials]                                 GUBERNAMENTAL
         Telephone (787) 722-2525                                                      DE FORMENTO PARA
                                                                                       PUERTO RICO
Case:17-03283-LTS
 Case:21-00068-LTS Doc#:18815-7
                    Doc#:46-22 Filed:08/26/21
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                                                 7181
                                                    of 74

Engineer Carmen Villar Prado
Highways and Transportation Authority
Obligation Letter Extension Expiration
 Various Financing
Page 2



If you are in agreement with the terms and conditions indicated above, please sign and return the copy of
this letter attached in order to proceed to prepare the legal documentation necessary as evidence of the
extension.
Resolution 10554 is attached as part of this letter, which states the obligation of the BGF.

Cordially,

[signature]
Jesús M. García Rivera
Vice President and Director
Department of Financing
 of Income Obligations

cc:     Mrs. Natalia Guzmán
        Mr. Arnaldo Maestre
        Mrs. Miriam Pascual
        Mrs. Brenda González

Attachment
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-7
                                 Doc#:46-22 Filed:08/26/21
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              [emblem]     COMMONWEALTH OF
                           PUERTO RICO
                           Banco Gubernamental de Fomento
                           para Puerto Rico

                                                       CERTIFICATION

                      I, ALEJANDRO FEBRES JORGE, Secretary of the Board of Directors of the Banco

             Gubernamental de Fomento para Puerto Rico, CERTIFY that Resolution 10554 is a true and correct copy

             of the original that is under my custody. It was adopted by the Board of Directors of the Banco

             Gubernamental de Fomento para Puerto Rico, at a meeting duly convened and held on December 17, 2014.

                      I CERTIFY, IN ADDITION, that this Resolution has not been repealed, revoked or cancels and it

             is in full force and effect.

                                                      RESOLUTION 10554

                      APPROVES THE EXTENSION OF THE EXPIRATION DATE OF VARIOUS
[initials]




                      FINANCING FOR A TOTAL OF $1,446,197,984.64 THAT THE HIGHWAYS AND
                      TRANSPORTATION AUTHORITY HAS IN EFFECT WITH THE BANCO
                      GUBERNAMENTAL DE FOMENTO PARA PUERTO RICO UNTIL JANUARY 31,
                      2016

                      WHEREAS, on October 31, 2013, the Highways and Transportation Authority (ACT) has various
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             maximum of $2,080,094,587.64, of which some of the credit lines are due to expire in January 2015. The
             current balance of this financing is $1,446,197,984,984.4, with a principal balance of $1,223,899,356.04;

                     WHEREAS, the management of the BGF favorably recommended the extension of the expiration
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             necessary, the available balances will be used to address emergency situations of the ACT in which the
             planned bond issuance through the Authority for Infrastructure Financing of Puerto Rico will be conducted.

                      THEREFORE, BE IT RESOLVED by the Board of Directors of the Banco Gubernamental de
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             to the following terms and conditions:

              PO Box 42001                                                          [logo:] BANCO
              San Juan, PR 00940-2001                                                       GUBERNAMENTAL
              Telephone (787) 722-2525                                                      DE FORMENTO PARA
                                                                                            PUERTO RICO
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                                                 7381
                                                    of 74
Board of Directors of the BGF
Certification of Resolution 10554
Page 2 of 2
Approved on December 17, 2014

    1. The President of the Banco Gubernamental de Fomento para Puerto Rico, the Executive Vice
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  This Resolution is approved, in addition, as an official statement of intent under United States Treasury Department
  regulation, Section 1.150-2.

  The provisions of this Resolution are effective on the date of approval.

          AND IN WITNESS WHEREOF, I sign and stamp with the corporate seal of the Banco

  Gubernamental de Fomento para Puerto Rico. In San Juan, Puerto Rico, on this day, Tuesday, January 13,

  2015.

                                                                             [signature]
   (SEAL)                                                            ALEJANDRO FEBRES JORGE
                                                                           SECRETARY




  40606
               Case:17-03283-LTS
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DATE OF TRANSLATION:                  23-Aug-21
ELECTRONIC FILE NAME:                 February 28, 2013 Agreement


SOURCE LANGUAGE:                      Spanish
TARGET LANGUAGE:                      English
TRANSPERFECT JOB ID:                  US1061278

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